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                 EXHIBIT A
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                                                             EXHIBIT A
                               Final Joint Claim Chart for U.S. Patent No. 7,105,152 (“the ‘152 patent”)
                            Teva Pharmaceutical Products R&D, Inc. et al. v. Perrigo Pharmaceuticals Co. et al.
                                               (C.A. No. 12-1101-GMS) (Consolidated)

                                                               Agreed-Upon Constructions

       Term                                                              Joint Proposed Construction
[applicable claims]

   “pharmaceutical        Proposed Construction:
  suspension aerosol      A drug formulation in which the drug is in particulate form and is substantially insoluble in the propellant.
     formulation”
     [1, 2, 4, 8, 9]      Intrinsic Evidence:
                          See, e.g., Col. 3 at 30-32 (“The term ‘suspension aerosol formulation’ as used herein refers to a formulation in which the drug is
                          in particulate form and is substantially insoluble in the propellant”).

    “micronized”          Proposed Construction:
         [2]              micronized, i.e., about 90 percent or more of the particles have a diameter of less than about 10 microns

                          Intrinsic Evidence:
                          See, e.g., Col. 3 at 58-63 (“Particularly in formulations of the invention intended for oral inhalation into the lungs, the drug is
                          preferably micronized, i.e., about 90 percent or more of the particles have a diameter or less than about 10 microns, in order to
                          assure that the particles can be inhaled into the lungs.”).


                                                                  Disputed Constructions

       Term               Plaintiffs’ Constructions and Intrinsic Evidence                  Defendants’ Constructions and Intrinsic Evidence
[applicable claims]

   “no surfactant”        Proposed Construction:                                            Proposed Construction:
         [1]              No added surface active agent                                     Ordinary and customary meaning

                          Intrinsic Evidence:                                               Intrinsic Evidence:

                                                                               A-1
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   See Col. 2 at 46 – Col. 3 at 22 (“This invention also provides   ’152 patent
   an aerosol canister containing a formulation as described           (See, e.g., Abstract, col.1 ll.38-44, 51-55, 64-67; col.2 ll.1-9,
   above in an amount sufficient to provide a plurality of             13-18, 26-32, 36-67; col.3 ll.1-22, 36-43, 64-67; col.4 ll.1-
   therapeutically effective doses of the drug. Also provided is       67; col.5 ll.1-67; col.6 ll.1-52; Examples 1-16 and
   a method of preparing a formulation as described above,             Comparative Example, read together and as a whole,
   comprising the steps of: (i) combining an amount of the drug        including without limitation col.8 ll.16-17, 23-24.)
   sufficient to provide a plurality of therapeutically effective
   doses and a propellant selected from the group consisting of     ’152 Patent History: Application No. 07/809,791
   HFC 134a, HFC 227, and a mixture thereof, in an amount            See, e.g., Dec. 18, 1991 Application, at p.7 ll.1, 14-16
   sufficient to propel from an aerosol canister a plurality of        [PER(Albu) 007808].
   therapeutically effective doses of the drug; and (ii)             See, e.g., May 15, 1992 Office Action, at p.2 [PER(Albu)
   dispersing the drug in the propellant. This invention further       007821
   provides a method of treating a mammal having a condition         See, e.g., May 15, 1992 Office Action, at p. 3 [PER(Albu)
   capable of treatment by inhalation, comprising the step of          012823].
   administering by inhalation a formulation as described above
   to the mammal.                                                   ’152 Patent History: Application No. 07/810,401
                                                                     See, e.g., Dec. 18, 1991 Application, at p.2, ll.24-26
   In another aspect, this invention provides suspension aerosol       [PER(Albu) 007858].
   formulations comprising a therapeutically effective amount        See, e.g., Dec. 18, 1991 Application, at p.9, ll.7-9
   of micronized albuterol sulfate and HFC 227 as substantially        [PER(Albu) 007865].
   the only propellant. This invention also provides suspension
   aerosol formulations comprising a therapeutically effective      ’152 Patent History: Application No. 07/878,039
   amount of micronized albuterol sulfate, from about 0.1 to         See, e.g., May 4, 1992 Application, at p.6 ll.1-4 [PER(Albu)
   about 15 percent by weight of ethanol, and HFC 227 as               012879].
   substantially the only propellant. This invention also
                                                                     See, e.g., Apr. 16, 1993 Office Action [PER(Albu) 012956].
   provides suspension aerosol formulations comprising a
                                                                     See, e.g., July 16, 1993 Amendment, Response, and Petition
   therapeutically effective amount of micronized albuterol
                                                                       Under C.F.R. 1.48(b), at p.4 [PER(Albu) 012966].
   sulfate, from about 5 to 15 percent by weight of ethanol,
                                                                     See, e.g., July 16, 1993 Amendment, Response, and Petition
   from about 0.05 to about 0.5 percent by weight of a
                                                                       Under C.F.R. 1.48(b), at pp.6-7 [PER(Albu) 012966-67].
   surfactant selected from the group consisting of oleic acid
   and sorbitan trioleate, and HFC 227 as substantially the only     See, e.g., Oct. 25, 1993 Office Action, at p.2 [PER(Albu)
   propellant.                                                         012974].
                                                                     See, e.g., Jan. 25, 1994 Amendment After Final Rejection, at
   In another aspect this invention provides suspension aerosol        p.1 [PER(Albu) 012977].
   formulations comprising a therapeutically effective amount        See, e.g., Jan. 25, 1994 Amendment After Final Rejection, at
   of micronized pirbuterol acetate and a propellant comprising        p.2 [PER(Albu) 012978].
   HFC 227, the formulation being further characterized in that      See, e.g., Jan. 25, 1994 Amendment After Final Rejection, at
   it is substantially free of perfluorinated surfactant. This         p.2 [PER(Albu) 012978].
   invention also provides suspension aerosol formulations           See, e.g., Jan. 25, 1994 Amendment After Final Rejection, at
                                                       A-2
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   comprising a therapeutically effective amount of micronized           pp.2-3 [PER(Albu) 012978-79].
   pirbuterol acetate, about 0.1 to about 12 percent by weight of       See, e.g., Jan. 25, 1994 Amendment After Final Rejection, at
   ethanol, and a propellant comprising HFC 227. This                    p.4 [PER(Albu) 012980].
   invention also provides suspension aerosol formulations              See, e.g., Feb. 7, 1994 Office Action, at p.2 [PER(Albu)
   comprising a therapeutically effective amount of micronized           012983].
   pirbuterol acetate, about 5 to about 12 percent by weight of         See, e.g., Feb. 7, 1994 Office Action, at p.3 [PER(Albu)
   ethanol, about 0.05 to about 0.5 percent by weight of oleic           012984].
   acid, and a propellant comprising HFC 227.”).                        See, e.g., Feb. 7, 1994 Office Action, at p.4 [PER(Albu)
                                                                         012985].
   See Col. 3 at 36-43 (“The formulations of the invention that         See, e.g., May 9, 1994 Amendment, at p.4 [PER(Albu)
   consist essentially of drug and a propellant contain drug and         013003].
   propellant in relative amounts such that a formulation               See, e.g., May 9, 1994 Amendment, at p.5 [PER(Albu)
   suitable for aerosol administration is obtained without the           013004].
   need for additional components. Such formulations
                                                                        See, e.g., May 9, 1994 Amendment, at p.6 [PER(Albu)
   preferably contain less than an effective stabilizing amount
                                                                         013005].
   of surfactant and more preferably are substantially free of
                                                                        See, e.g., May 9, 1994 Amendment, at p.7 [PER(Albu)
   surfactant and other components.”).
                                                                         013006].
                                                                        See, e.g., Nov. 10, 1994 Request for Reconsideration, at p.2
   See Col. 5 at 60 – Col. 6 at 20 (“Generally the formulations
                                                                         [PER(Albu) 013015].
   of the invention can be prepared by combining (i) the drug in
   an amount sufficient to provide a plurality of therapeutically       See, e.g., Jan. 17, 1995 Brief on Appeal, at p.1 [PER(Albu)
   effective doses; and (ii) the propellant in an amount                 013020].
   sufficient to propel a plurality of doses from an aerosol            See, e.g., Jan. 17, 1995 Brief on Appeal, at p.4 [PER(Albu)
   canister; and dispersing the drug in the propellant. The drug         013022].
   can be dispersed using a conventional mixer or homogenizer,          See, e.g., Jan. 17, 1995 Brief on Appeal, at p.5 [PER(Albu)
   by shaking, or by ultrasonic energy. Bulk formulation can be          013023].
   transferred to smaller individual aerosol vials by using valve       See, e.g., Jan. 17, 1995 Brief on Appeal, at p.6 [PER(Albu)
   to valve transfer methods or by using conventional cold-fill          013024].
   methods.                                                             See, e.g., Jan. 17, 1995 Brief on Appeal, at p.7 [PER(Albu)
                                                                         013025].
   The pirbuterol acetate suspension aerosol formulations of            See, e.g., Feb. 14, 1995 Examiner’s Answer, at p.4
   this invention can be prepared by combining the pirbuterol            [PER(Albu) 013034].
   acetate and the propellant and then dispersing the pirbuterol        See, e.g., Feb. 14, 1995 Examiner’s Answer, at p.5
   acetate in the propellant using a conventional mixer or               [PER(Albu) 013035].
   homogenizer. Pirbuterol acetate, however, is somewhat                See, e.g., Feb. 14, 1995 Examiner’s Answer, at pp.6-7
   soluble in ethanol alone. Accordingly, when oleic acid                [PER(Albu) 013036-37].
   and/or ethanol are included in the formulation, it is preferred
   that the pirbuterol acetate be first placed in an aerosol vial. A   ’152 Patent Prosecution History: Application
   mixture of the propellant, oleic acid and/or ethanol can then       No. 08/455,490
                                                         A-3
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   be added, and the pirbuterol acetate dispersed in the mixture.    See, e.g., May 24, 1995 Divisional Application, at p.1
                                                                      [PER(Albu) 008057-58].
   The albuterol sulfate suspension aerosol formulations of this     See, e.g., May 24, 1995 Divisional Application, at p.5
   invention can be prepared by combining the albuterol sulfate       [PER(Albu) 008059].
   and the propellant and dispersing the albuterol sulfate in the    See, e.g., May 24, 1995 Divisional Application, at p.6
   propellant using a conventional mixer or homogenizer.              [PER(Albu) 008060].
   When a surfactant and/or ethanol are included in the               See, e.g., May 24, 1995 Divisional Application, at p.11
   formulation, they can be added to the propellant along with        [PER(Albu) 008065].
   the albuterol sulfate.”).                                         See, e.g., July 5, 1996 Office Action pp.4-5 [PER(Albu)
                                                                      008312-13].
   See Examples 1-16, Col 7 at 1 – Col. 16 at 13.                    See, e.g., Jan. 30, 1997 Office Action, at p.3 [PER(Albu)
                                                                      008334].
   See 08/455,490 File History - Applicant Arguments/Remarks         See, e.g., July 30, 1997 Response to Office Action, at p.3
   Made in an Amendment dated November 10, 1998                       [PER(Albu) 008340].
   (“Applicants’ new claims 78-83 are directed to a
                                                                     See, e.g., July 30, 1997 Response to Office Action, at p.4
   pharmaceutical suspension formulation, and a canister
                                                                      [PER(Albu) 008341].
   containing the formulation, consisting essentially of
                                                                     See, e.g., Amended Claims with Mark-up [PER(Albu)
   particulate drug, 1, 1, 1, 2- tetrafluoroethane as propellant,
                                                                      008343].
   and ethanol, wherein the formulation contains no surfactant.
                                                                     See, e.g., Nov. 5, 1997 Office Action, at p.1 [PER(Albu)
   None of the references cited above, whether considered
                                                                      008447].
   separately or in combination, disclose or suggest all of these
   features. For example, both Weil and Schultz are fatally          See, e.g., Nov. 5, 1997 Office Action, at p.3 [PER(Albu)
   flawed as anticipatory references in two ways: both teach the      008448].
   use of surfactant but neither discloses the use of ethanol.       See, e.g., Nov. 4, 1998 Response to Office Action, at p.3
   Accordingly, any potential anticipation rejection is overcome      [PER(Albu) 008476].
   with respect to Weil and Schultz.                                 See, e.g., Nov. 4, 1998 Response to Office Action, at p.4
                                                                      [PER(Albu) 008477].
   New claims 78-83 also are not obvious to one skilled in the       See, e.g., Nov. 4, 1998 Response to Office Action, at p.5
   art under 35 U.S.C. § 103(a) in view of the applied                [PER(Albu) 008478].
   references. The Examiner has previously rejected applicants'      See, e.g., Nov. 4, 1998 Response to Office Action, at p.6
   claims as being (1) obvious over Schultz or Weil in                [PER(Albu) 008479].
   combination with Byron (‘097), and (2) obvious over               See, e.g., Nov. 4, 1998 Response to Office Action, at p.7
   Schultz or Weil in combination with Kamiya and Byron               [PER(Albu) 008480].
   (‘097). See Office Action of 11/5/97. Neither Weil nor            See, e.g., Nov. 4, 1998 Response to Office Action, at p.9
   Schultz, however, teach or suggest a drug suspension               [PER(Albu) 008482].
   formulation including ethanol and excluding surfactant.           See, e.g., Nov. 4, 1998 Response to Office Action, at p.10
   Moreover, Schultz, Weil, and Byron ‘097 were all                   [PER(Albu) 008483; see also PER(Albu) 008484].
   considered in the granted U.S. ‘124 and ‘293 patents noted        See, e.g., Exhibit D [PER(Albu) 008493 & PER(Albu)
                                                                      008494].
                                                       A-4
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   above.                                                              See, e.g., Draft Claims with Mark-ups [PER(Albu) 008493 &
                                                                        PER(Albu) 008496].
   Schultz requires the presence of propellant 134a or 227 or          See, e.g., Mar. 9, 1999 Office Action, at p.2 [PER(Albu)
   mixtures thereof, medicament, and surfactant with a lower            008502].
   concentration limit of 0.001% by weight. Schultz prefers that       See, e.g., Mar. 9, 1999 Office Action, at p.3 [PER(Albu)
   the amount of surfactant used be approximately the                   008503].
   minimum needed to provide a suitable suspension (pg. 5,             See, e.g., May 31, 1995 Examiner Interview Summary
   lines 27-29). Contrary to the Examiner’s argument, however,          Record [PER(Albu) 008507].
   this in no way suggests the complete absence of surfactant.
                                                                       See, e.g., Mar. 21, 2005 Office Action, at p.2 [PER(Albu)
   All working examples and claims in Schultz require the use
                                                                        009207].
   of a surfactant. Indeed, the lower concentration limit of
                                                                       See, e.g., Jan. 23, 2006 Brief on Appeal, at p.3 [PER(Albu)
   0.001% disclosed in Schultz clearly suggests the importance
                                                                        009347].
   of having surfactant present. Schultz in no way suggests
   eliminating surfactant. Applicants’ discovery that suitable         See, e.g., Apr. 17, 2006 Notice of Allowability, at p.3
   aerosol suspension formulations for inhalation drug delivery         [PER(Albu) 009368].
   could be obtained without surfactant confirms the                   See, e.g., Claims Appendix with Mark-ups, at p.6
   completely unexpected nature of applicants’ invention given          [PER(Albu) 009378].
   that persons skilled in the art of MDI formulations such as         See, e.g., Aug. 10, 1995 Letter from P.A. Bowman to
   Byron and Schultz regarded surfactant as a necessary                 European Patent Office, at p.1 [PER(Albu) 008609-10].
   component for a suitable aerosol formulation.                       See, e.g., June 30, 1997 Judgment, Norton Healthcare
                                                                        Limited v. Riker Labs. Inc. and Minnesota Mining
   Likewise, Weil fails to teach or suggest suspension                  Manufacturing Company, CH 1996 M No. 3771 & CH 1996
   formulations of drug excluding surfactant. Moreover, the             M No. 3771 (High Court of Justice, Chancery Div., Patents
   Weil formulations are directed to a different propellant             Court) (Jacob, J.) [PER(Albu) 008571-84].
   (1,1,1,2,3,3,3-heptafluoropropane) than the present claims          See, e.g., July 28, 1998 Judgment, Norton Healthcare
   and, as noted by the Examiner, Weil does not teach the               Limited v. Minnesota Mining Manufacturing Company, CH
   inclusion of ethanol.                                                1997 M No. 3766 & CH 1997 M No. 3722 (High Court of
                                                                        Justice, Chancery Div., Patents Court) (Pumfrey, J.)
   The Examiner has cited the secondary reference Kamiya for            [PER(Albu) 008570-607].
   the proposition that it would have been obvious to one of           See, e.g., May 27, 1998 Expert Report of Ian Smith, Norton
   ordinary skill in the art to include ethanol in the formulations     Healthcare Limited v. Minnesota Mining Manufacturing
   of Weil and/or Schultz to arrive at the claimed formulation.         Company, CH 1997 M No. 3766 & CH 1997 M No. 3722
   Applicants respectfully disagree. Applicants’ new claims             (High Court of Justice, Chancery Div., Patents Court)
   require ethanol but exclude surfactant. One skilled in the art       [PER(Albu) 008635-70].
   would have to impermissibly ignore the disclosure of                See, e.g., Expert Report of Dr. John J. Sciarra, Norton
   surfactant in Schultz and Weil and then go a step further and        Healthcare Limited v. Minnesota Mining Manufacturing
   add the alleged teachings of ethanol in Kamiya to arrive at          Company, CH 1997 M No. 3766 & CH 1997 M No. 3722
   the claimed invention. The combination of the above                  [PER(Albu) 008611-34].
   references, assuming for the sake of argument that it is

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   permissible, would at best result in a formulation containing
   drug, propellant, ethanol, and surfactant.

   Byron ‘097 was applied for its teaching of oleic acid as a
   dispersion agent in aerosol formulations. As the pending
   claims are now explicitly limited to formulations that are
   free of any surfactant, applicants submit that Byron ‘097 is
   no longer applicable.

   Byron himself explicitly suggested in a 1990 co-authored
   article that surfactant was regarded as a necessary
   component of an aerosol formulation for a metered dose
   inhaler. See Byron, Dalby, et al., “CFC Propellant
   Substitution: P-134a as a Potential Replacement for P-12 in
   MDIs,” Pharmaceutical Technology, March 1990 (attached
   as Exhibit A). According to the article, one of the critical
   tests to be passed by any replacement propellant is its ability
   to dissolve the surfactants used in such formulations. Page 4,
   lines 9-10.”).

   See 08/455,490 File History – Applicant
   Arguments/Remarks Made in an Amendment dated March
   29, 1999 (“Applicants’ claims 78-83 are directed to a
   pharmaceutical suspension formulation consisting essentially
   of particulate drug, 1, 1, 1, 2-tetrafluoroethane as propellant,
   and ethanol, wherein the formulation contains no surfactant,
   and to a canister containing the formulation. None of the
   references cited above, whether considered separately or in
   combination, disclose or suggest all of these features. For
   example, both Weil and Schultz are fatally flawed as
   anticipatory references in two ways: both teach the use of
   surfactant but neither discloses the use of ethanol.
   Accordingly, any potential anticipation rejection is overcome
   with respect to Weil and Schultz.

   Claims 78-83 are not obvious to one skilled in the art under
   35 U.S. C. § 103(a) in view of the applied references. The
   Examiner has previously rejected applicants’ claims as being
   (1) obvious over Schultz or Weil in combination with Byron

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   (‘097), and (2) obvious over Schultz or Weil in combination
   with Kamiya and Byron (‘097). Neither Weil nor Schultz,
   however, teach or suggest a drug suspension formulation
   both including ethanol and excluding surfactant. Moreover,
   Schultz, Weil, and Byron ‘097 were all considered in the
   granted U.S. ‘124 and ‘293 patents as noted above.

   Schultz requires the presence of propellant 134a or 227 or
   mixtures thereof, medicament, and surfactant with a lower
   concentration limit of 0.001% by weight. Schultz prefers that
   the amount of surfactant used be approximately the
   minimum needed to provide a suitable suspension (pg. 5,
   lines 27-29). Contrary to the Examiner’s argument, however,
   this in no way suggests the complete absence of surfactant.
   All working examples and claims in Schultz require the use
   of a surfactant. Indeed, the lower concentration limit of
   0.001% disclosed in Schultz clearly suggests the importance
   of having surfactant present. Schultz in no way suggests
   eliminating surfactant. Applicants’ discovery that suitable
   aerosol suspension formulations for inhalation drug delivery
   could be obtained without surfactant confirms the
   completely unexpected nature of applicants’ invention given
   that persons skilled in the art of MDI formulations such as
   Byron and Schultz regarded surfactant as a necessary
   component for a suitable aerosol formulation.

   Likewise, Weil fails to teach or suggest suspension
   formulations of drug excluding surfactant. Moreover, the
   Weil formulations are directed to a different propellant than
   the present claims (1, 1, 1, 2, 3, 3, 3-heptafluoropropane)
   and, as noted by the Examiner, Weil does not teach the
   inclusion of ethanol.

   The Examiner has cited the secondary reference Kamiya for
   the proposition that it would have been obvious to one of
   ordinary skill in the art to include ethanol in the formulations
   of Weil and/or Schultz to arrive at the claimed formulation.
   Applicants respectfully disagree. Applicants’ new claims
   require ethanol but exclude surfactant. One skilled in the art
                                                        A-7
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   would have to impermissibly ignore the disclosure of
   surfactant in Schultz and Weil and then go a step further and
   add the alleged teachings of ethanol in Kamiya to arrive at
   the claimed invention. The combination of the above
   references, assuming for the sake of argument that it is
   permissible, would at best result in a formulation containing
   drug, propellant, ethanol, and surfactant.

   Byron ‘097 was applied for its teaching of oleic acid as a
   dispersion agent in aerosol formulations. As the pending
   claims are now explicitly limited to formulations that are
   free of any surfactant, applicants submit that Byron ‘097 is
   no longer applicable.

   Byron himself explicitly suggested in a 1990 co-authored
   article that surfactant was regarded as a necessary
   component of an aerosol formulation for a metered dose
   inhaler. See Byron, Dalby, et al., “CFC Propellant
   Substitution: P-134a as a Potential Replacement for P-12 in
   MDIs,” Pharmaceutical Technology, March 1990 (attached
   as Exhibit A). According to the article, one of the critical
   tests to be passed by any replacement propellant is its ability
   to dissolve the surfactants used in such formulations. Page 4,
   lines 9-10.”).

   See 08/455,490 File History – Notice of Allowability dated
   April 24, 2006 (“The primary reasons for allowance are that
   the prior art does not disclose nor teach or fairly suggest a
   pharmaceutical suspension aerosol formulation as instantly
   claimed that consists essentially of a combination of the
   following ingredients: (i) particulate drug; (ii) 1, 1, 1, 2-
   tetrafluoroethane as propellant; and (iii) ethanol in amounts
   of 5 to about 15% by weight, without the presence of any
   surfactant. The prior art fails to disclose or teach a
   pharmaceutical suspension aerosol formulation comprising
   ethanol in the amounts claimed (5 to about 15% by weight)
   and fails to disclose or teach the exclusion of surfactant from
   aerosol formulations.

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   In contrast prior art formulations utilize distinct amounts of
   ethanol and additionally include the presence of surfactants
   in their suspension aerosol formulations.

   The instant invention demonstrates an improvement over
   prior art formulations because it provides for a formulation
   that exhibits substantially no growth in particle size or
   change in crystal morphology of the drug over a prolonged
   period and is readily redispersible and does not flocculate so
   quickly as to prevent reproducible dosing of the drug. The
   instant formulation also avoids the incorporation of
   additional components, such as surfactant.”).

   See 08/955,603 (file wrapper continuation of 07/878,039)
   File History – Amendment dated May 9, 1994 (“Claims 1, 4-
   13, 15-19, 26-29, and 61-63 have been rejected under 35
   USC §103 as being unpatentable over Schultz et al. The
   reference discloses formulations that contain propellant,
   drug, and a perfluorinated surfactant. The Examiner
   correctly points out that the reference refers to amounts of
   surfactant as low as 0.001% and prefers that the amount of
   surfactant used be the minimum amount required to provide
   a suitable suspension. Manipulation of the relative amount of
   surfactant in the reference formulations is taught by Schultz.
   However, Schultz relates to the use of a particular class of
   surfactant and requires the use of such a surfactant. Any
   manipulation of the surfactant amount in Schultz would be
   carried out only within the range of effective amounts. The
   Schultz teaching that the surfactant amount can be varied
   does not even remotely suggest that the surfactant can be
   used in less than an effective amount (as required by the
   pending claims). For the reasons set forth above Schultz et
   al. therefore does not render the claimed formulations
   unpatentable under 35 USC §103. The rejection should be
   withdrawn.”).

   See 08/955,603 (file wrapper continuation of 07/878,039)
   File History – Amendment, Remarks, and Petition Under 37
   CFR 1.48(b) dated July 16, 1993 (“Claims 1, 4-13, 15-19,
                                                        A-9
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   and 26-29 have been rejected under 35 USC 103 as being
   unpatentable over Schultz et al. The reference discloses
   formulations that contain propellant, drug, and a
   perfluorinated surfactant. The Examiner correctly points out
   that the reference refers to amounts of surfactant as low as
   0.001% and prefers that the amount of surfactant used be the
   minimum amount required to provide a suitable suspension.
   However, the Examiner contends that this disclosure renders
   it obvious to use no surfactant. This cannot be supported.
   Manipulating the relative amount of surfactant in the
   reference formulations might be taught or suggested.
   However, this does not even remotely suggest the complete
   elimination of the surfactant. In fact Schultz requires the use
   of a surfactant. It simply cannot be said to be obvious to
   remove from a reference formulation an element disclosed as
   essential to the utility of the formulation. To remove the
   surfactant from the Schultz et al. formulations would
   therefore be directly contrary to the teachings of the
   reference. Schultz et al. does not render the claimed
   formulations unpatentable under 35 USC 103. The rejection
   should be withdrawn.”).




                                                       A-10
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                   EXHIBIT B
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                                                          EXHIBIT B
                                      Final Joint Claim Chart for U.S. Patent No. 7,566,445
                          Teva Pharmaceutical Products R&D, Inc. et al. v. Perrigo Pharmaceuticals Co. et al.
                                             (C.A. No. 12-1101-GMS) (Consolidated)

       Term         Plaintiffs’ Constructions and Intrinsic Evidence Defendants’ Constructions and Intrinsic Evidence
[applicable claims]

“pharmaceutical         Proposed Construction:                                            Proposed Construction:
suspension aerosol      A drug formulation in which the drug is in particulate form       Ordinary and customary meaning
formulation”            and substantially insoluble in the propellant
[1, 2, 11, 16]                                                                            Intrinsic Evidence:
                        Intrinsic Evidence:                                               ’445 patent
                        See Col. 1 at 51-55 (“According to a first aspect of the             (’445 patent, read as a whole; col.1 ll.17-21, 26-44; col.2 ll.3-
                        present invention there is provided a medicinal aerosol              11; col.3 ll.22-27; Example.)
                        formulation comprising a particulate medicament, a
                        fluorocarbon propellant and 6%-25% w/w of the total               ’445 Patent Prosecution History: Application No. 08/999,752
                        formulation of a polar co-solvent, such formulation being          See, e.g., June 4, 1997 Preliminary Amendment, at p.2
                        substantially free of surfactant.”).                                 [PER(Albu) 010592; see also PER(Albu) 010607; PER(Albu)
                                                                                             011189; PER(Albu) 012333].
                        See Col. 1 at 66 – Col. 2 at 2 (a pharmaceutical aerosol           See, e.g., June 4, 1997 Preliminary Amendment, at p.4
                        formulation which comprises particulate medicament, a                [PER(Albu) 010593; see also PER(Albu) 010608; PER(Albu)
                        propellant consisting all or part of fluorocarbon and 6% to          011190; PER(Albu) 012334].
                        25% of a polar co-solvent, which is substantially free of          See, e.g., June 4, 1997 Preliminary Amendment, at pp.7-8
                        surfactant.”).                                                       [PER(Albu) 010596-97; see also PER(Albu) 010611-12;
                                                                                             PER(Albu) 011193-94; PER(Albu) 012337-38].
                        See Col. 2 at 42-51 (“In all cases of the present invention the    See, e.g., June 4, 1997 Preliminary Amendment, at pp.9
                        medicament consists of a particle size suitable for inhalation       [PER(Albu) 010598; see also PER(Albu) 010613; PER(Albu)
                        into the lung and will this be less than 100 microns, desirably      012338].
                        less than 20 microns and preferably in the range of 1-10           See, e.g., June 4, 1997 Preliminary Amendment with Mark-
                        microns, normally with a mean particle size of 5-10 microns.         ups, at p.9 [PER(Albu) 010614].
                                                                                           See, e.g., June 30, 1997 Judgment, Norton Healthcare Limited
                        Medicaments which may be administered in aerosol                     v. Riker Labs. Inc. and Minnesota Mining Manufacturing
                        formulations according to the invention include any drug             Company, CH 1996 M No. 3771 & CH 1996 M No. 3771
                        useful in inhalation therapy which may be present in a form          (High Court of Justice, Chancery Div., Patents Court) (Jacob,
                        which is substantially completely insoluble in the selected          J.) [PER(Albu) 010775-92].
                                                                            B-1
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   propellant.”).

   See Col. 3 at 2-12 (“It will be clear to a person skilled in the
   art that, where appropriate, the medicaments may be used in
   the form of salts (e.g. as alkali metal or amine salts or as acid
   addition salts) or as esters (e.g. lower alkyl esters) or as
   solvates (e.g. hydrates) to optimise the activity and/or
   stability of the medicament and/or to minimize the solubility
   of the medicament in the propellant.

   Preferred are those compounds which are also substantially
   insoluble in the co-solvent. Particularly preferred as a
   medicament is salbutamol either as a base or as a salt and
   especially salbutamol sulfate.”).

   See Col. 3 at 22-27 (“The product is preferentially produced
   by weighing the active medicament and suspending it in the
   co-solvent. The appropriate amount of suspension is then
   dosed into the can, followed by a second dose of propellant
   or propellant mix. However, a one shot fill or any other
   equivalent method may be employed.”).

   See Example, Col. 3 at 39-59.

   See 08/999,752 File History – Amendment/Request for
   Reconsideration After Non-Final Rejection dated November
   28, 2008 (“Thus, the diameters of the orifices taught in
   Schultz ‘201 for delivering a suspension aerosol formulation
   are outside, and much greater (e.g., about 2 to 5 times
   greater) than the range of 100 to 300 microns as recited in
   the independent claims. As such, Schultz ‘201 in fact teaches
   away from the claimed invention. To further highlight this
   distinction, Claim 23 recites that the bronchodilator is
   ‘substantially completely insoluble’ in the propellant. In
   addition to this recitation, the three new independent claims
   39, 46 and 47 also recite that the aerosol formulation is a
   ‘suspension’ aerosol formulation (support for which is found
   in bottom of page 5, for example). Thus, the present claims
   now clearly point out that the aerosol formulation is in the
                                                         B-2
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                            form of a suspension as opposed to a solution.”).

“substantially free of      Proposed Construction:                                             Proposed Construction:
surfactant”                 Any surface active agent, if present, is not present in an         Ordinary and customary meaning
[1, 2, 11, 16]              amount sufficient to have an effect on the physical properties
                            of the formulation                                                 Intrinsic Evidence:
                                                                                               ’445 patent
                            Intrinsic Evidence:                                                   (’445 patent, read as a whole; Abstract; col.1 ll.51-55, 61-67;
                            See Col. 1 at 30-36 (“However, historically medicinal                 col.2 ll.1-2; Example.)
                            suspension aerosols have contained a surfactant e.g. U.S.
                            Patent No. 3,014,844, as it was considered that the use of a       ’445 Patent Prosecution History: Application No. 08/999,752,
                            surfactant was necessary to prevent agglomeration of                See, e.g., June 4, 1997 Preliminary Amendment, at p.2
                            particles, to prevent adhesion to the sides of the canister, and      [PER(Albu) 010591; see also PER(Albu) 010607; PER(Albu)
                            to aid valve lubrication and prevent valve sticking.”).               011188; PER(Albu) 012332].
                                                                                                See, e.g., June 4, 1997 Preliminary Amendment, at pp.7-8
                            See Col. 1 at 51-55 (“According to a first aspect of the              [PER(Albu) 010596-97; see also PER(Albu) 010611-12;
                            present invention there is provided a medicinal aerosol               PER(Albu) 011193-94; PER(Albu) 012336-37].
                            formulation comprising a particulate medicament, a                  See, e.g., June 4, 1997 Preliminary Amendment, at p.9
                            fluorocarbon propellant and 6%-25% w/w of the total                   [PER(Albu) 010598; see also PER(Albu) 010613; PER(Albu)
                            formulation of a polar co-solvent, such formulation being             012338].
                            substantially free of surfactant.”).                                See, e.g., Apr. 14, 1999 Office Action, at pp.3-4 [PER(Albu)
                                                                                                  010757-58].
                            See Col. 1 at 66 – Col. 2 at 2 (a pharmaceutical aerosol            See, e.g., Aug. 27, 1999 Amendment, at p.6 [PER(Albu)
                            formulation which comprises particulate medicament, a                 010774].
                            propellant consisting all or part of fluorocarbon and 6% to         See, e.g., Dec, 2, 1999 Office Action, at p.2 [PER(Albu)
                            25% of a polar co-solvent, which is substantially free of             010799].
                            surfactant.”).                                                      See, e.g., Interview Summary, at p.1 [PER(Albu) 010801].
                                                                                                See, e.g., Exhibit to July 18, 2000 Petition Under 37 C.F.R.
                            See Example, Col. 3 at 39-59.
                                                                                                  1.181 Requesting Withdrawal of Holding of Abandonment –
                                                                                                  Feb. 25, 2000 Memorandum [PER(Albu) 010811].
                            See 08/999,752 File History – Applicant
                                                                                                See, e.g., Exhibit to July 18, 2000 Petition Under 37 C.F.R.
                            Arguments/Remarks Made in an Amendment, dated August
                                                                                                  1.181 Requesting Withdrawal of Holding of Abandonment –
                            30, 1999 (“Claims 1-22 stand rejected under 35 U.S.C.
                                                                                                  Apr. 6, 2000 Letter [PER(Albu) 010817-18].
                            102(b) as being anticipated by Purewal, et al., U.S. Patent
                            No. 5,225,183. The invention of claims 1-22 differ from             See, e.g., Aug. 30, 2001 Office Action, at pp.3-4 [PER(Albu)
                            Purewal by virtue of their requirement that the formulation           010823-24].
                            be substantially free of surfactant. In fact, Purewal (column       See, e.g., Feb. 28, 2002 Response to Official Action, at p.2
                            3, lines 5-9) indicates that the presence of increased amounts        [PER(Albu) 010842].
                            of solubilized surfactant allows the preparation of stable,         See, e.g., Feb. 28, 2002 Response to Official Action, at p.4
                                                                                  B-3
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                           homogenous suspensions of drug particles and assists in            [PER(Albu) 010847].
                           obtaining stable solution formulations of certain drugs. In       See, e.g., Sept. 15, 2003 Preliminary Amendment Under 37
                           addition, during the litigation Re European Patent Nos.            C.F.R. 1.115, at p.2 [PER(Albu) 010880].
                           0372,777, 0499,344, and 0553,298 before the Chancery              See generally ’445 Patent Prosecution History: Application
                           Division (copy attached), an expert for 3M, the patentee,          No. 08/999,752, WO 93/11743 [PER(Albu) 010649].
                           indicated that he would have understood from the statements       See generally ’445 Patent Prosecution History: Application
                           in EP 0372,777 (the European patent corresponding with             No. 08/999,752, WO 94/03153 [PER(Albu) 010706].
                           U.S. Patent No. 5,225,183) that the authors of that document      See generally ’445 Patent Prosecution History: Application
                           had found surfactant to be a necessary component in the            No. 08/999,752, WO 93/11744 [PER(Albu) 010859].
                           aerosol formulation. (See e.g. page 18). Therefore, the           See, e.g., June 30, 1997 Judgment, Norton Healthcare Limited
                           requirement that the formulation be substantially free of          v. Riker Labs. Inc. and Minnesota Mining Manufacturing
                           surfactant is neither disclosed nor suggested by Purewal.”).       Company, CH 1996 M No. 3771 & CH 1996 M No. 3771
                                                                                              (High Court of Justice, Chancery Div., Patents Court) (Jacob,
                           See also Col. 3 at 22-27 (“The product is preferentially           J.) [PER(Albu) 010775-92].
                           produced by weighing the active medicament and
                           suspending it in the co-solvent. The appropriate amount of
                           suspension is then dosed into the can, followed by a second
                           dose of propellant or propellant mix. However, a one shot
                           fill or any other equivalent method may be employed.”).

                           See also 08/999,752 File History – Office Action dated
                           December 2, 1999 (“Note that ‘substantially free of
                           surfactant’ does not exclude the presence of a surfactant in
                           the formulation.”).

“substantially             Proposed Construction:                                           Proposed Construction:
completely insoluble”      Plain and ordinary meaning                                       No plain, ordinary or customary meaning/Indefinite2
[1, 2, 11, 16]
                           Intrinsic Evidence:                                              Intrinsic Evidence:
                           See Col. 2 at 47 – Col. 3 at 8 (“Medicaments which may be        ’445 patent


2
  Claims 1, 2, 11, and 16 of U.S. Patent No. 7,566,445 (“the ’445 patent”) include the term “substantially completely insoluble.” Because this term does not have
a plain, ordinary or customary meaning to those skilled in the art, Defendants maintain that it is indefinite, and renders the asserted claims invalid. It is
Defendants' understanding that the Court typically does not consider the ultimate question of indefiniteness and resulting invalidity during the claim construction
phase. Accordingly, Defendants respectfully reserve their rights to demonstrate, at the appropriate time, that the term “substantially completely insoluble” is
indefinite, and renders the claims invalid as a matter of law.

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                            administered in aerosol formulations according to the                    (’445 patent, read as a whole; col.2 ll.47-51.)
                            invention include any drug useful in inhalation therapy
                            which may be presented in a form which is substantially               ’445 Patent Prosecution History: Application No. 08/999,752
                            completely insoluble in the selected propellant. Appropriate           See, e.g., June 4, 1997 Preliminary Amendment, at p.2
                            medicaments may thus be selected from, for example, …                    [PER(Albu) 010592; see also PER(Albu) 010607; PER(Albu)
                            salbutamol, . . . . It will be clear to a person skilled in the art      011189; PER(Albu) 012333].
                            that, where appropriate, the medicaments may be used in the            See, e.g., June 4, 1997 Preliminary Amendment, at p.4
                            form of salts (e.g. as alkali metal or amine salts or as acid            [PER(Albu) 010593; see also PER(Albu) 010608; PER(Albu)
                            addition salts) or as esters (e.g. lower alkyl esters) or as             011190; PER(Albu) 012334].
                            solvates (e.g. hydrates) to optimize [sic] the activity and/or         See, e.g., Nov. 5, 2008 Amendment [PER(Albu) 010945-48;
                            stability of the medicament and/or to minimize [sic] the                 see also PER(Albu) 012322-25].
                            solubility of the medicament in the propellant.”).                     See, e.g., Nov. 8, 2008 Amendment [PER(Albu) 010949].
                                                                                                   See, e.g., Nov. 25, 2008 Amendment, at p.10 [PER(Albu)
                            See 08/999,752 File History – Amendment/Request for                      010953].
                            Reconsideration After Non-Final Rejection dated November               See, e.g., Feb. 25, 2009 Office Action, at p.4 [PER(Albu)
                            28, 2008 (“Thus, the diameters of the orifices taught in                 012306].
                            Schultz ‘201 for delivering a suspension aerosol formulation
                                                                                                   See, e.g., Apr, 13, 2009 [Proposed] Examiner’s Amendment
                            are outside, and much greater (e.g., about 2 to 5 times
                                                                                                     [PER(Albu) 012344-45].
                            greater) than the range of 100 to 300 microns as recited in
                                                                                                   See, e.g., June 30, 1997 Judgment, Norton Healthcare Limited
                            the independent claims. As such, Schultz ‘201 in fact teaches
                                                                                                     v. Riker Labs. Inc. and Minnesota Mining Manufacturing
                            away from the claimed invention. To further highlight this
                                                                                                     Company, CH 1996 M No. 3771 & CH 1996 M No. 3771
                            distinction, Claim 23 recites that the bronchodilator is
                                                                                                     (High Court of Justice, Chancery Div., Patents Court) (Jacob,
                            ‘substantially completely insoluble’ in the propellant. In
                                                                                                     J.) [PER(Albu) 010775-92].
                            addition to this recitation, the three new independent claims
                            39, 46 and 47 also recite that the aerosol formulation is a
                            ‘suspension’ aerosol formulation (support for which is found
                            in bottom of page 5, for example). Thus, the present claims
                            now clearly point out that the aerosol formulation is in the
                            form of a suspension as opposed to a solution.”).

                            See 08/999,752 File History – Notice of Allowability dated
                            May 29, 2009 (“The present invention requires that the
                            aerosol formulation is a suspension not a solution.”).

“in the amount of           Proposed Construction:                                                Proposed Construction:
11.4% w/w”                  Present in an amount equal to approximately 11.4%, by                 In the amount of 11.4% w/w
[3, 6, 7, 10, 12, 15, 17,   weight, of the formulation
20]                                                                                               Intrinsic Evidence:
                            Intrinsic Evidence:                                                   ’445 patent
                                                                                    B-5
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   See Example, Col. 3 at 39-59.                                         (Abstract; col.1 ll.45-47, 51-60; col.2 ll.1-11, 42-46; col.3
                                                                         ll.13-17, 28-38, 51-53; claims 1-2, 11, 16.)
   See 08/999,752 File History – Applicant
   Arguments/Remarks Made in an Amendment dated                       ’445 Patent Prosecution History: Application No. 08/999,752,
   November 28, 2008 (“With regards to new claims 40 and 42-           See, e.g., Nov. 1, 2008 Facsimile [PER(Albu) 010941-42].
   44, the percent amounts of concentration in mixture by              See, e.g., Nov. 8, 2008 Amendment [PER(Albu)_010947-48].
   weight (w/w) were calculated using the weights of the               See, e.g., Nov. 8, 2008 Amendment [PER(Albu) 010949].
   ingredients in the example in p. 5 and rounding to the nearest      See, e.g., Apr, 13, 2009 [Proposed] Examiner’s Amendment
   tenth for consistency. For example the recitation in claim 40         [PER(Albu) 012343-46]
   of ‘0.4%’ salbutamol sulfate was derived by dividing the            See, e.g., Draft Claims [PER(Albu) 012348-50].
   weight of salbutamol sulfate (0.03g) by the total weight of         See, e.g., June 30, 1997 Judgment, Norton Healthcare Limited
   the ingredients, i.e., 0.03g/(0.03g + 0.97g + 7.5g) to arrive at      v. Riker Labs. Inc. and Minnesota Mining Manufacturing
   0.35%, which was rounded to 0.4%. Accordingly, no new                 Company, CH 1996 M No. 3771 & CH 1996 M No. 3771
   matter has been added by these amendments. Applicant                  (High Court of Justice, Chancery Div., Patents Court) (Jacob,
   respectfully requests entry of these amendments.”).                   J.) [PER(Albu) 010775-92].
   See also Col. 1 at 50-60 (“According to a first aspect of the
   present invention there is provided a medicinal aerosol
   formulation comprising a particulate medicament, a
   fluorocarbon propellant and 6% to 25% w/w of the total
   formulation of a polar co-solvent, such formulation being
   substantially free of surfactant.

   According to a second aspect of the present invention there
   is provided a medicinal aerosol formulation, comprising one
   or more particulate medicaments, one or more fluorocarbon
   or hydrocarbon or aliphatic gas propellants and 6% to 25%
   w/w of a polar co-solvent.”).

   See also Col. 2 at 3-7 (“It has now been surprisingly found
   that higher levels of alcohol have beneficial results. Levels
   of 6% or more of ethanol produce satisfactory suspensions,
   which do not agglomerate on standing, and on reshaking
   produce finely dispersed medicament.”).

   See also Col. 3 at 13-17 (“Co-solvents may be selected from
   polar alcohols and polyols, particularly C2-C6 aliphatic
   alcohols and polyols, such as propylene glycol, and
   preferably ethanol. Levels of co-solvent will be between 6%
                                                        B-6
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                            and 25% w/w of the total canister content, preferably
                            between 10-15% w/w of canister content.”).

                            See also Col. 3 at 35-38 (“A particularly preferred
                            embodiment of the invention is a combination of a level of
                            10-15% co-solvent (normally ethanol) with a stem aperture
                            of 150-250 microns.”).
“in the amount of           Proposed Construction:                                             Proposed Construction:
0.4% w/w”                   Present in an amount equal to approximately 0.4%, by               In the amount of 0.4% w/w
[4, 6, 8, 10, 13, 15, 18,   weight, of the formulation
20]                                                                                            Intrinsic Evidence:
                            Intrinsic Evidence:                                                ’445 patent
                            See Example, Col. 3 at 39-59.                                         (Abstract; col.1 ll.45-47, 51-60; col.2 ll.1-11, 42-46; col.3
                                                                                                  ll.13-17, 28-38, 51-53; claims 1-2, 11, 16.)
                            See 08/999,752 File History – Applicant
                            Arguments/Remarks Made in an Amendment dated                       ’445 Patent Prosecution History: Application No. 08/999,752,
                            November 28, 2008 (“With regards to new claims 40 and 42-           See, e.g., Nov. 1, 2008 Facsimile [PER(Albu) 010941-42].
                            44, the percent amounts of concentration in mixture by              See, e.g., Nov. 8, 2008 Amendment [PER(Albu)_010947-48].
                            weight (w/w) were calculated using the weights of the               See, e.g., Nov. 8, 2008 Amendment [PER(Albu) 010949].
                            ingredients in the example in p. 5 and rounding to the nearest      See, e.g., Apr, 13, 2009 [Proposed] Examiner’s Amendment
                            tenth for consistency. For example the recitation in claim 40         [PER(Albu) 012343-46].
                            of ‘0.4%’ salbutamol sulfate was derived by dividing the            See, e.g., Draft Claims [PER(Albu) 012348-50].
                            weight of salbutamol sulfate (0.03g) by the total weight of         See, e.g., June 30, 1997 Judgment, Norton Healthcare Limited
                            the ingredients, i.e., 0.03g/(0.03g + 0.97g + 7.5g) to arrive at      v. Riker Labs. Inc. and Minnesota Mining Manufacturing
                            0.35%, which was rounded to 0.4%. Accordingly, no new                 Company, CH 1996 M No. 3771 & CH 1996 M No. 3771
                            matter has been added by these amendments. Applicant                  (High Court of Justice, Chancery Div., Patents Court) (Jacob,
                            respectfully requests entry of these amendments.”).                   J.) [PER(Albu) 010775-92].

“in the amount of           Proposed Construction:                                             Proposed Construction:
88.2% w/w”                  Present in an amount equal to approximately 88.2%, by              In the amount of 88.2% w/w
[5, 6, 9, 10, 14, 15, 19,   weight, of the formulation
20]                                                                                            Intrinsic Evidence:
                            Intrinsic Evidence:                                                ’445 patent
                            See Example, Col. 3 at 39-59.                                         (Abstract; col.1 ll.45-47, 51-60; col.2 ll.1-11, 42-46; col.3
                                                                                                  ll.13-17, 28-38, 51-53; claims 1-2, 11, 16.)
                            See 08/999,752 File History – Applicant
                            Arguments/Remarks Made in an Amendment dated                       ’445 Patent Prosecution History: Application No. 08/999,752,
                            November 28, 2008 (“With regards to new claims 40 and 42-           See, e.g., Nov. 1, 2008 Facsimile [PER(Albu) 010941-42].

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   44, the percent amounts of concentration in mixture by              See, e.g., Nov. 8, 2008 Amendment [PER(Albu)_010947-48].
   weight (w/w) were calculated using the weights of the               See, e.g., Nov. 8, 2008 Amendment [PER(Albu) 010949].
   ingredients in the example in p. 5 and rounding to the nearest      See, e.g., Apr, 13, 2009 [Proposed] Examiner’s Amendment
   tenth for consistency. For example the recitation in claim 40        [PER(Albu) 012343-46].
   of ‘0.4%’ salbutamol sulfate was derived by dividing the            See, e.g., Draft Claims [PER(Albu) 012348-50].
   weight of salbutamol sulfate (0.03g) by the total weight of         See, e.g., June 30, 1997 Judgment, Norton Healthcare Limited
   the ingredients, i.e., 0.03g/(0.03g + 0.97g + 7.5g) to arrive at     v. Riker Labs. Inc. and Minnesota Mining Manufacturing
   0.35%, which was rounded to 0.4%. Accordingly, no new                Company, CH 1996 M No. 3771 & CH 1996 M No. 3771
   matter has been added by these amendments. Applicant                 (High Court of Justice, Chancery Div., Patents Court) (Jacob,
   respectfully requests entry of these amendments.”).                  J.) [PER(Albu) 010775-92].




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                                                             EXHIBIT C
                               Final Joint Claim Chart for U.S. Patent No. 6,446,627 (“the ‘627 patent”)
                            Teva Pharmaceutical Products R&D, Inc. et al. v. Perrigo Pharmaceuticals Co. et al.
                                               (C.A. No. 12-1101-GMS) (Consolidated)

                                                               Agreed-Upon Construction

       Term                                                              Joint Proposed Construction
[applicable claims]

  “a control surface to   Proposed Construction:
 regulate a position of   Plain and ordinary meaning/Ordinary and customary meaning.
    engagement and
disengagement between     Intrinsic Evidence Identified By Plaintiffs:
 said drive means and     See Figure 3 at 371.
      said wheel”
           [1]            See Figure 5 at 571.

                          See Col. 4 at 6-25 (“In a first aspect, the invention is a dose counter for a metered dose inhaler, the counter comprising: actuator
                          means; drive means for driving rotary gear means in step-wise fashion in response to displacement of said actuator means, said
                          rotary gear means comprising a wheel mounted on a spindle and said wheel having a plurality of ratchet teeth around its
                          periphery; means to prevent reverse rotation of said rotary gear means; display means coupled to the rotary motion of said rotary
                          gear means, said display means having a visible array of incrementing integers on a surface thereof indexable by a single integer
                          in response to each step of the step-wise rotary motion of the rotary gear means; characterised [sic] in that said dose counter
                          further comprises a control surface to regulate the position of engagement and disengagement between said drive means and
                          said wheel.”).

                          See Col. 5 at 13-23 (“The control surface overcomes this problem by regulating the point of engagement as well as the point of
                          disengagement between the toothed wheel and the drive element. It then becomes possible to use a small circular rack to obtain
                          precise increments. By extending the control surface beyond the circular rack in both directions, it is possible to provide a
                          precise rotational increment from linear valve travel even when the linear motion far exceeds that required for the rotational
                          increment. Using this invention, the maximum precision of incrementation [sic] is obtained without the possibility of double
                          counting or sensitivity to variation in linear travel.”).

                          See Col. 8 at 55 – Col. 9 at 5 (“Also shown in this view is a control surface 371 which is depicted here as a see-through element
                          so that the workings of the invention may be more clearly understood. Control surface 371 extends parallel to the direction of
                                                                              C-1
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   travel of the actuator 341 and is located adjacent the ratchet-toothed wheel 360 at a position which marks a chordal projection
   across one of the wheel faces. One of the support arms 352 of the drive means 350 is in sliding contact with control surface 371.
   This sliding contact serves to inhibit the natural tendency of the drive means 350 to flex radially inwardly towards the axis of
   rotation of the ratchet-toothed wheel 360. By preventing such radially inward flexure, the control surface 371 restricts the
   engagement and disengagement of the drive 350 with the ratchet-toothed wheel 360 so that the distance by which the ratchet-
   toothed wheel 360 rotates is limited to one tooth pitch. This condition is observed regardless of the extent of linear travel, or
   stroke, of the actuator 341.”).

   See Col. 9 at 33-35 (“Equally, the control surface 571 forces the drive pawl hook element 551 to disengage from the ratchet
   tooth 561 at a fixed point during its downward path.”).

   See Col. 9 at 37-42 (“View (b) shows a similar arrangement in which a drive pawl 550 acts in a pushing sense in the direction of
   arrow B to rotate the ratchet-toothed wheel 560 in a clockwise sense. Again, the natural tendency of the drive pawl tip 551 to
   follow a ratchet tooth 561 around its curved path is prevented by the control surface 571”).

   Intrinsic Evidence Identified By Defendants:
   ‘627 patent
   (See, e.g., Abstract; col. 4, ll. 37-39; col. 5, ll. 14-26; col. 7, ll. 11-13; col. 8, ln. 55 – col. 9, ln.3; col. 9, ll. 29-42; Figs. 3 and 5.)




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                                                                 Disputed Constructions

       Term             Plaintiffs’ Constructions and Intrinsic Evidence                    Defendants’ Constructions and Intrinsic Evidence
[applicable claims]

  “actuator means”      Proposed Construction:                                              Proposed Construction:
         [1]            Plain and ordinary meaning.                                         A mechanical device for moving or controlling the drive means.

                        Intrinsic Evidence:                                                 Intrinsic Evidence:
                        See Figure 1 at 41.                                                 ‘627 patent
                                                                                               (See, e.g., Abstract, col. 1, ll. 12-14, 24-27, 28-30, 35-38, 49-
                        See Figure 2 at 41.                                                    50; col. 2, ll. 23-27; col. 3, ll. 38-59; col. 4, ll. 26-36; col. 6,
                                                                                               ll. 10-20; col. 7, ll. 5-8, 25-28, 33-34, 50-56; col. 8, ll. 33-40;
                        See Figure 3 at 341, 342.                                              col. 9, ll. 4-5, 66-67; claims 1, 5, 7, 10, 12, 14, 18, 20, 24, 26,
                                                                                               29, 32; Figs. 1-3.)
                        See Col. 1 at 12-14 (“Metered dose inhalers typically consist
                        of a medicament containing vessel and an actuator body
                        having a drug delivery outlet.”).

                        See Col 1 at 24-27 (“The metering valve assembly is
                        provided with a protruding valve stem which, in use, is
                        inserted as a tight push fit into a so-called ‘stem block’ in the
                        actuator body.”).

                        See Col. 2 at 21-27 (“To this end, various counters have been
                        proposed in recent times which aid the management of
                        metered dosage. Such counters vary in complexity and
                        sophistication, but they all have in common the feature that
                        they detect relative movement between the medicament-
                        containing vessel and the actuator body and increment in
                        response to such movement.”).

                        See Col. 3 at 38-59 (“One of the drawbacks of these known
                        counters is that they rely on mechanical interaction between
                        parts attached to the medicament-containing vessel and parts
                        provided on the actuator body. In other words, they are

                                                                              C-3
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   displacement triggered. Such counters are difficult to
   manufacture with satisfactory tolerances because of the
   variation in length of typical aerosol canisters which is
   attributable in part to the crimping operation used to connect
   the valve-carrying lid portion to the main cup portion.
   Another variable is the length of stroke of the metering
   valve. Although the technology involved is not especially
   demanding, it has been found that the amount of travel
   effective to actuate the metering valve of a typical
   medicament-containing aerosol canister may fall in a
   tolerance band as small as 0.5 mm. Thus it is difficult to
   provide a generic counter which increments accurately in
   response to every actuation. This may be true even when the
   counter, the aerosol canister and the inhaler housing have
   been specifically designed for use together. The problem is
   therefore likely to be worse in circumstances where different
   manufacturers’ aerosol canisters, inhaler housings and
   displacement-triggered counters are used in combination.”).

   See Col. 4 at 11 (“actuator means”).

   See Col. 4 at 26-36 (“Preferably, the actuator means are
   operable by linear displacement from a first position to a
   second position and back to said first position and the count
   index occurs during the forward stroke of the actuator means
   from said first position to said second position. For example,
   the actuator means may comprise a spring-loaded plunger
   adapted to engage the rim of a medicament reservoir and
   being depressible against the return force of the spring
   loading when the medicament reservoir is translated to
   deliver a dose of medicament through its metering valve.
   The actuator means may be integrally formed with the drive
   means.”).

   See Col. 5 at 57 (“actuator means”).

   See Col. 6 at 9-20 (“The actuator means may be operable by
   linear displacement from a first position to a second position
   and back to said first position, the count index occurring
                                                       C-4
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   during the forward stroke of the actuator means from said
   first position to said second position. For example, the
   actuator means may comprise a spring-loaded plunger
   adapted to engage the rim of a medicament reservoir and
   being depressible against the return force of the spring
   loading when the medicament reservoir is translated to
   deliver a dose of medicament through its metering valve.
   The actuator means may be integrally formed with the drive
   means.”).

   See Col. 6 at 45 (“actuator means”).

   See Col. 7 at 25-47 (“Referring now to FIGS. 1 and 2, the
   lower portion of a metered dose inhaler is shown, comprising
   an actuator body 20 having a drug delivery outlet 25. An
   aerosol canister 30 extends into the lower portion of the
   actuator body 20. The aerosol canister 30 is formed from a
   deep drawn aluminium [sic] cup section 31 to which a lid
   portion 32 is attached by crimping. The lid portion 32 carries
   a metering valve assembly having a protruding valve stem
   33, the end of which is received as a tight push fit in a stem
   block 21 of the actuator body 20. Stem block 21 has a nozzle
   22 communicating with the drug delivery outlet 25 so that,
   upon actuation of the metering valve assembly, a charge of
   the drug is emitted through the nozzle 22 into the drug
   delivery outlet 25. Actuation of the metering valve assembly
   is effected by causing downward movement of the aerosol
   canister 30 relative to the actuator body 20. This may be
   achieved through manual pressure exerted by the user
   against the upturned base (not shown) of the aerosol canister
   30 or by automatic depression of the aerosol canister 30 in
   response to user inhalation in inhalers of the breath-actuated
   type. The mechanism of breath actuation does not form part
   of the present invention and will not be described in greater
   detail in this specification.”).

   See Col. 7 at 50-56 (“A counter mechanism generally
   designated by the reference numeral 40 includes an actuator
   plunger 41 moulded [sic] from a plastics material such as
                                                       C-5
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                           nylon, the plunger 41 having a boss portion 42 integrally
                           formed at its base. The underside of boss portion 42 is
                           formed with a blind hole which receives a compression
                           spring 43 mounted on an upstanding spigot 44 formed on a
                           lower element of the counter chassis.”).

                           See Col. 8 at 33-40 (“The counter mechanism is generally
                           designated by the reference numeral 340 and consists of an
                           actuator 341 having a boss portion 342 integrally formed
                           therewith and drive means 350 joined to the boss portion
                           342. The underside of boss portion 342 is provided with a
                           blind hole which receives a compression spring 343 that
                           serves to return the actuator 341 to its rest position after
                           depression thereof during actuation of the inhaler apparatus
                           (not shown).”).

                           See Col. 8 at 43-46 (“The web is connected to the boss
                           portion 342 of the actuator 341 and a combined actuator and
                           drive means assembly may be integrally formed from a
                           plastics material such as nylon.”)

                           See Col. 10 at 47-51 (“Although the invention has been
                           particularly described above with reference to specific
                           embodiments, it will be understood by persons skilled in the
                           art that these are merely illustrative and that variations are
                           possible without departing from the scope of the claims
                           which follow.”).
   “rotary gear means      Proposed Construction:                                           Proposed Construction:
having a wheel mounted     Plain and ordinary meaning.                                      A wheel mounted on a spindle, the wheel having a plurality of
on a spindle, said wheel                                                                    ratchet teeth around its periphery.
  having a plurality of    Intrinsic Evidence:
 ratchet teeth around a    See Figure 1 at 60.                                              Intrinsic Evidence:
    periphery of said                                                                       ‘627 Patent
         wheel”            See Figure 2 at 61.                                              (See, e.g., Abstract; col. 4, ll. 9-13, 36-37, col. 5, ll. 27-32, 35-
           [1]                                                                              40, 50-52, 58-62; col. 6, ll. 4-9, 23-29, 38-40, 46-50; col. 7, ll.
                           See Figure 3 at 360, 363.                                        57-58, 63-67; col. 8, ll. 18-21, 48-51, 59-60, 65; col. 9, ll. 1-2,
                                                                                            8-24, 27-35, 39-41, 47-60; col. 10, ll. 1-4, 7-8, 10, 18, 22-24,
                           See Figure 4 at 460, 461, 461a, 461b.                            30-31, 40; claims 1, 3, 5, 8, 10, 12, 18, 23, 24, 25, 29, 30, 33;
                                                                                            Figs. 2-7.)
                                                                               C-6
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                           See Figure 5 at 560, 561.

                           See Figure 6(a) at 660.

                           See Figure 6(b) at 660.

                           See Figure 7 at 760, 761.

                           See Col. 4 at 12-14 (“said rotary gear means comprising a
                           wheel mounted on a spindle and said wheel having a
                           plurality of ratchet teeth around its periphery”).

                           See Col. 6 at 47-49 (“said rotary gear means comprising a
                           wheel mounted on a spindle and said wheel having a
                           plurality of ratchet teeth around its periphery”).

                           See Col. 7 at 66 – Col. 8 at 1 (“Ratchet wheel 60 is integrally
                           moulded [sic] with a first hollow axle 63 which is rotatably
                           supported on a first spindle 73 that projects transversely
                           from a chassis sub-element 70.”).

                           See Col. 10 at 47-51 (“Although the invention has been
                           particularly described above with reference to specific
                           embodiments, it will be understood by persons skilled in the
                           art that these are merely illustrative and that variations are
                           possible without departing from the scope of the claims
                           which follow.”).
    “drive means for       Proposed Construction:                                            Proposed Construction:
driving said rotary gear   Plain and ordinary meaning.                                       This term is a means-plus-function term under 35 U.S.C. §112
   means in step-wise                                                                        ¶6.
 fashion in response to    Intrinsic Evidence:
  displacement of said     See Figure 2 at 50.                                               The function is “for driving said rotary gear means in step-wise
    actuator means”                                                                          fashion in response to displacement of said actuator means.”
           [1]             See Figure 3 at 351, 353.
                                                                                             The structures in the specification linked to this function are:
                           See Figure 4 at 451.
                                                                                             1) “a transverse hook element … mounted between two arms
                           See Figure 5 at 550, 551.                                         52, 53 … the bases of which are conjoined to the boss portion
                                                                                             42 ... [t]he transverse hook element [being] dimensioned and
                                                                                C-7
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   See Figure 6(a) at 650.                                         oriented to engage with ratchet teeth 61 formed around the
                                                                   periphery of ratchet wheel 60 to rotate it in a forward direction”;
   See Figure 6(b) at 650.
                                                                   2) “a transverse hook element 351 mounted between a pair of
   See Figure 7 at 751.                                            arms 352, 353 which are joined at their bases by a web … [t]he
                                                                   web [being] connected to the boss portion 342 of the actuator
   See Col. 4 at 9-14 (“drive means for driving rotary gear        341”;
   means in step-wise fashion in response to displacement of
   said actuator means, said rotary gear means comprising a        3) “the ratchet tooth engaging element is supported at both ends
   wheel mounted on a spindle and said wheel having a              by a support arm 752, 753”;
   plurality of ratchet teeth around its periphery”).
                                                                   4) “drive pawl 451”;
   See Col. 4 at 35-36 (“The actuator means may be integrally
   formed with the drive means.”).                                 5) “drive pawl hook element 551”;

   See Col. 4 at 60 – Col. 5 at 2 (“IN [sic] known ratchet         6) “drive pawl 550”;
   indexing mechanisms, a drive element is used to engage a
   one-direction tooth form of a rack. The rack may be linear or   7) “drive pawl 650”; and/or
   it may be turned upon itself to form a toothed wheel. The
   drive element engages in the first rack tooth and moves the     8) “drive pawl 751”.
   whole rack a distance greater than one tooth pitch. The rack
   must then remain in the new position while the drive element    Intrinsic Evidence:
   disengages from the first tooth and engages the next. The       ‘627 patent
   temporary holding of the rack is commonly achieved by a         (See, e.g., Abstract, Figs. 2-7, col. 4, ll. 60-65; col. 5, ll. 33-41;
   fixed element or pawl that engages a tooth form on the rack     col. 6, ll. 21-29, 56-67; col. 7, ll. 1-2, 14-24, 57-65; col. 8, ll. 41-
   and prevents reverse motion.”).                                 48, 61-67; col. 9, ll. 1-3, 6-10, 16-19, 23-48, , 54-55, 62-67; col.
                                                                   10, ll. 1-46; claims 1, 3, 5, 8, 10, 12, 18, 23, 24, 29, 33.)
   See Col. 5 at 33-41 (“Advantageously, the drive means for
   driving the rotary gear means comprises a ratchet drive pawl
   in the form of a straddle drive in which the element that
   engages the ratchet teeth of the wheel is supported between a
   pair of spaced apart support arms. The gap between the
   support arms is dimensioned to accommodate the thickness
   of the wheel therebetween, so that the depth of engagement
   between the ratchet drive pawl and the ratchet teeth of the
   wheel is unhindered by the drive means support.”).

   See Col. 5 at 58-62 (“drive means for driving rotary gear
   means in step-wise fashion in response to displacement of
                                                      C-8
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   said actuator means, said rotary gear means comprising a
   wheel mounted on a spindle and said wheel having a
   plurality of ratchet teeth around its periphery”).

   See Col. 6 at 18-19 (“The actuator means may be integrally
   formed with the drive means.”).

   See Col. 6 at 20-28 (“The drive means for driving the rotary
   gear means may be a ratchet drive pawl in the form of a
   straddle drive in which the element that engages the ratchet
   teeth of the wheel is supported between a pair of spaced
   apart support arms. The gap between the support arms is
   preferably dimensioned to accommodate the thickness of the
   wheel there between, so that the depth of engagement
   between the ratchet drive pawl and the ratchet teeth of the
   wheel is unhindered by the drive means support.”).

   See Col. 6 at 46-50 (“drive means for driving rotary gear
   means in step-wise fashion in response to displacement of
   said actuator means, said rotary gear means comprising a
   wheel mounted on a spindle and said wheel having a
   plurality of ratchet teeth around its periphery”).

   See Col. 7 at 1-2 (“The drive pawl may be used either to pull
   the ratchet teeth or to push them.”).

   See Col. 7 at 57-65 (“Drive means 50, for driving a rotary
   gear means in the form of a ratchet-toothed wheel 60, is
   integrally moulded [sic] with boss portion 42 of the actuator
   and comprises a transverse hook element (not shown)
   mounted between two arms 52, 53 (only one visible in FIG.
   2), the bases of which are conjoined to the boss portion 42.
   The transverse hook element is dimensioned and oriented to
   engage with ratchet teeth 61 formed around the periphery of
   ratchet wheel 60 to rotate it in a forward direction.”).

   See Col. 8 at 33-36 (“The counter mechanism is generally
   designated by the reference numeral 340 and consists of an
   actuator 341 having a boss portion 342 integrally formed
                                                       C-9
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   therewith and drive means 350 joined to the boss portion
   342.”).

   See Col. 8 at 41-46 (“The drive means 350 comprises a
   transverse hook element 351 mounted between a pair of
   arms 352, 353 which are joined at their bases by a web. The
   web is connected to the boss portion 342 of the actuator 341
   and a combined actuator and drive means assembly may be
   integrally formed from a plastics material such as nylon.”).

   See Col. 8 at 61 – Col. 9 at 5 (“One of the support arms 352
   of the drive means 350 is in sliding contact with control
   surface 371. This sliding contact serves to inhibit the natural
   tendency of the drive means 350 to flex radially inwardly
   towards the axis of rotation of the ratchet-toothed wheel 360.
   By preventing such radially inward flexure, the control
   surface 371 restricts the engagement and disengagement of
   the drive 350 with the ratchet-toothed wheel 360 so that the
   distance by which the ratchet-toothed wheel 360 rotates is
   limited to one tooth pitch. This condition is observed
   regardless of the extent of linear travel, or stroke, of the
   actuator 341.”).

   See Col. 9 at 6-15 (“FIG. 4 shows a schematic view of a
   conventional ratchet gear and drive pawl arrangement which
   uses a reciprocating drive element 451 acting in a pulling
   sense to rotate a ratchet-toothed wheel 460 in the direction
   shown by the arrows A. A fixed pawl 454 acts to prevent
   reverse rotation of the ratchet-toothed wheel 460 by
   engagement against the trailing slope 461b of a ratchet tooth
   461. However, on forward rotation of the ratchet-toothed
   wheel 460 in the sense of arrows A, the fixed pawl 454 is
   capable of radially outward deformation, urged by the
   leading slope 461a of a ratchet-tooth 461.”).

   See Col. 9 at 16-22 (“In this arrangement, if the ratchet-
   toothed wheel 460 is rotated by more than a single tooth
   pitch but by less than two tooth pitches for each
   reciprocating movement of the drive pawl 451, there is a
                                                       C-10
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   degree of reverse rotation until the fixed pawl 454 becomes
   engaged by the trailing slope 461b of a ratchet tooth 461.
   Thus, the rotation of the ratchet-toothed wheel 460 may be
   said to be ‘stepped’.”).

   See Col. 9 at 26-29 (“View (a) shows a drive pawl hook
   element 551 acting in the sense of arrow B to pull the ratchet
   teeth 561 of a ratchet-toothed wheel 560 downwards and
   effect clockwise rotation of the ratchet-toothed wheel 560.”).

   See Col. 9 at 37-42 (“View (b) shows a similar arrangement
   in which a drive pawl 550 acts in a pushing sense in the
   direction of arrow B to rotate the ratchet-toothed wheel 560
   in a clockwise sense. Again, the natural tendency of the drive
   pawl tip 551 to follow a ratchet tooth 561 around its curved
   path is prevented by the control surface 571.”).

   See Col. 9 at 43-50 (“FIG. 6(a) shows a similar arrangement
   to the conventional ratchet gear and drive pawl mechanism
   depicted in FIG. 4 and described above. In this particular
   arrangement, however, the drive pawl 650 is acting in a
   pushing sense in the direction of arrow B to drive the
   ratchet-toothed wheel 660 clockwise. Fixed pawl 654 acts to
   prevent reverse rotation of the ratchet-toothed wheel 660, but
   its action is not continuous and the restraint is said to be
   ‘stepped’.”).

   See Col. 9 at 54-58 (“The coils of the spring 664 are oriented
   such that forward actuation of the drive pawl 650 in the
   sense of arrow B acts to unwind the coiling slightly,
   allowing free rotation of the spindle, and hence the ratchet-
   toothed wheel 660, in the clockwise sense.”).

   See Col. 9 at 62-65 (“Referring now to FIG. 7, here is a
   series of schematic views showing two arrangements of a
   conventional ratchet drive and two arrangements of a
   straddle drive in accordance with a third aspect of the
   invention.”).

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   See Col. 9 at 66 – Col. 10 at 2 (“View (a) shows a
   conventional pushing arrangement where a drive pawl 751
   actuated in the direction of arrow B engages a ratchet tooth
   761 of ratchet-toothed wheel 760 to rotate it in a clockwise
   sense.”).

   See Col. 10 at 2-9 (“In order to achieve effective engagement
   between the tip of the drive pawl 751 and the valley in
   between neighbouring [sic] ratchet teeth 761, the tip of the
   drive pawl 751 must be quite slender. This means that it is
   susceptible to bending and, whilst the bending moment aids
   engagement of the drive pawl tip with the ratchet teeth 761,
   the bending moment reduces the effective travel. In a
   counter, this could affect counting precision.”).

   See Col. 10 at 10-12 (“View (b) shows a ratchet-toothed
   wheel 760 rotated in a clockwise sense by a straddle form of
   drive pawl 751 actuated in the pushing sense represented by
   arrow B.”).

   See Col. 10 at 19-24 (“View (c) is similar to the arrangement
   shown in view (a) but relates to the case in which the drive
   pawl 751 acts in the pulling sense. In this arrangement, the
   tip of the drive pawl 751 is fashioned in the form of a hook
   engageable behind the trailing slopes 761b of the ratchet
   teeth 761 to pull the ratchet-toothed wheel 760 around in the
   clockwise direction.”).

   See Col. 10 at 34-35 (“View (d) shows a straddle form of
   drive pawl 751 acting in the pulling sense.”).

   See Col. 10 at 47-51 (“Although the invention has been
   particularly described above with reference to specific
   embodiments, it will be understood by persons skilled in the
   art that these are merely illustrative and that variations are
   possible without departing from the scope of the claims
   which follow.”).

   See also 09/319,947 File History – Office Action dated May
                                                       C-12
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                           22, 2001 (“Rand discloses an MDI having dose counter
                           including an actuator, drive means 11, a preventing means
                           15, display means 116 (page 2 lines 127-130) incrementing
                           in single integers, and a control surface (cavities and walls
                           housing element 11 as shown in fig. 2).

                           …

                           Marelli discloses an MDI having a dose counter including in
                           fig. 5 the drive and preventing means for the display means
                           17. Any surface touching or guiding element 9 would be the
                           control surface.

                           ….

                           Klein discloses an MDI having a dose counter including a
                           drive means 52, preventing means 46, display means 12 and
                           control surface (port in wall 60 through which 40
                           extends).”).
    “reverse rotation      Proposed Construction:                                          Proposed Construction:
  prevention means to      Plain and ordinary meaning.                                     This term is a means-plus-function term under 35 U.S.C. §112
prevent reverse rotation                                                                   ¶6.
   of said rotary gear     Intrinsic Evidence:
 means…wherein the         See Figure 3 at 364.                                            The function is to prevent reverse rotation of said rotary gear
    reverse rotation                                                                       means.
 prevention means is a     See Figure 6(a) at 654.
     friction clutch”                                                                      The structures in the specification linked to this function are:
            [1]            See Figure 6(b) at 664.
                                                                                           1) “wrap-spring clutch 64 surrounding the hollow axle 63 at one
                           See Col. 4 at 15-16 (“means to prevent reverse rotation of      end thereof remote from ratchet toothed wheel 60”;
                           said rotary gear means;”).
                                                                                           2) friction clutch 364 [at the end of hollow axle 363]”; and/or
                           See Col. 5 at 24-32 (“In an especially preferred variant, the
                           means to prevent reverse rotation of the rotary gear means is   3) “coil spring 664”.
                           a friction clutch such as a wrap-spring clutch. The advantage
                           of a wrap spring clutch is that it operates on the spindle      Intrinsic Evidence:
                           mounting the ratchet wheel and braces the spindle against       ‘627 patent
                           reverse rotation relative to the counter chassis. Absence of       (See, e.g., Abstract, Figs. 3 and 6, col. 4, ll. 14-15, 65-67, col.
                           side forces acting on the ratchet wheel means that                 5, ll. 1-2, 25-30, col. 6, ll. 1-7; col. 7, ll. 19-21, col. 8, ll. 18-
                                                                               C-13
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   mechanical operation of the counter is simplified.”).              30, 50-54; col. 9, ll. 6-23, 43-61; claims 1, 2, 5, 12, 15, 16,
                                                                      18, 21, 22, 24, 25, 29, 30.)
   See Col. 6 at 1-3 (“characterised [sic] in that said dose
   counter further comprises stepless restraint means to prevent
   reverse rotation of said rotary gear means”).

   See Col. 6 at 4-9 (“Preferably, the stepless restraint means is
   a wrap-spring clutch operating on the spindle on which the
   ratchet wheel is mounted and bracing the spindle against
   reverse rotation relative to the counter chassis. Absence of
   side forces acting on the ratchet wheel means that
   mechanical operation of the counter is simplified.”)

   See Col. 8 at 18-30 (“The ratchet-toothed wheel 60 and
   integrally formed first hollow axle 63 are restrained from
   reverse rotation by a wrap-spring clutch 64 surrounding the
   hollow axle 63 at the end thereof remote from ratchet-
   toothed wheel 60. One end (not shown) of the wrap-spring
   clutch 64 is braced against the counter chassis. The windings
   of the wrap-spring clutch 64 are oriented such that rotation
   of the first hollow axle 63 in a forward sense is not resisted
   by the spring coils. However, reverse rotation of the hollow
   axle 63 acts so as to tighten the spring coils around it,
   thereby causing the first hollow axle 63 to be gripped by the
   internal surface of the wrap-spring clutch 64 and hence
   restraint from reverse rotation.”).

   See Col. 8 at 50-54 (“At the end of the hollow axle 363
   remote from the ratchet-toothed wheel 360 is a friction
   clutch 364 which serves to restrain the axle 363 against
   reverse rotation and hence prevents reverse travel of the
   counter tape 368.”)

   See Col. 9 at 9-11 (“A fixed pawl 454 acts to prevent reverse
   rotation of the ratchet-toothed wheel 460 by engagement
   against the trailing slope 461b of a ratchet tooth 461.”).

   See Col. 9 at 48-50 (“Fixed pawl 654 acts to prevent reverse
   rotation of the ratchet-toothed wheel 660, but its action is not
                                                        C-14
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                         continuous and the restraint is said to be ‘stepped’.”).

                         See Col. 9 at 54-60 (“The coils of the spring 664 are oriented
                         such that forward actuation of the drive pawl 650 in the
                         sense of arrow B acts to unwind the coiling slightly,
                         allowing free rotation of the spindle, and hence the ratchet-
                         toothed wheel 660, in the clockwise sense. Reverse rotation
                         of the spindle acts to tighten the coiling of the spring 664
                         slightly so that it grips the spindle and restrains it against
                         reverse rotation.”).

                         See Col. 10 at 47-51 (“Although the invention has been
                         particularly described above with reference to specific
                         embodiments, it will be understood by persons skilled in the
                         art that these are merely illustrative and that variations are
                         possible without departing from the scope of the claims
                         which follow.”).

                         See also 09/319,947 File History – Office Action dated May
                         22, 2001 (“Rand discloses an MDI having dose counter
                         including an actuator, drive means 11, a preventing means
                         15, display means 116 (page 2 lines 127-130) incrementing
                         in single integers, and a control surface (cavities and walls
                         housing element 11 as shown in fig. 2).

                         …

                         Marelli discloses an MDI having a dose counter including in
                         fig. 5 the drive and preventing means for the display means
                         17. Any surface touching or guiding element 9 would be the
                         control surface.

                         ….

                         Klein discloses an MDI having a dose counter including a
                         drive means 52, preventing means 46, display means 12 and
                         control surface (port in wall 60 through which 40
                         extends).”).
“display means coupled   Proposed Construction:                                           Proposed Construction:
                                                                              C-15
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    to said rotary gear    Plain and ordinary meaning.
   means, said display                                                                        This term is a means-plus-function term under 35 U.S.C. §112
 means having a visible    Intrinsic Evidence:                                                ¶6.
  array of incrementing    See Figure 3 at 363.
  integers on a surface                                                                       The function is for displaying a visible array of incrementing
 thereof indexable by a    See Col. 2 at 49-53 (“International Patent Application No.         integers on a surface thereof indexable by a single integer in
     single integer in     WO 92/09324 discloses the use of a rotatable display means         response to each step of the step-wise motion of the rotary gear
response to each step of   incorporating a rack of teeth which is driven by a ratchet         means.
the step-wise motion of    during the dispensing of a medicament dose.”).
 the rotary gear means”                                                                       The structures in the specification linked to this function are:
            [1]            See Col. 3 at 15-20 (“In U.S. Pat. No. 5,437,270 for a multi-
                           dose powder device, a number of display means are                  1) “a flexible tape 68 wound around the second hollow axle 67
                           disclosed, including a tape system. The system is described        which serves as a supply spool and passes to the first hollow
                           as a tape wound up into a roll and which is freely rotatable,      axle 63 which serves as a take up spool … [t]he surface of the
                           the leading edge of the tape being secured to a drum coupled       tape 68 is marked with a progression of descending numbers
                           to the rotation of the metering member.”).                         which denotes the number of doses remaining in the aerosol
                                                                                              canister”; and/or
                           See Col. 4 at 17-21 (“display means coupled to the rotary
                           motion of said rotary gear means, said display means having        2) “flexible tape display 368”.
                           a visible array of incrementing integers on a surface thereof
                           indexable by a single integer in response to each step of the      Intrinsic Evidence:
                           step-wise rotary motion of the rotary gear means”).                ‘627 patent
                                                                                                 (See, e.g., Abstract, Figs. 1-3, col. 3, ll. 15-17, col. 4, ln. 3;
                           See Col. 4 at 39-43 (“For maximum reliability and accuracy,           col. 5, ll. 42-54; col. 6, ll. 30-42; col. 7, ll. 5-10; col. 8, ll. 4-
                           the counter must only index after the metering valve has              17, 47-50, claims 1, 4, 5, 9, 10, 12, 17, 18, 24, 28, 29.)
                           delivered its dose from the inhaler.”).

                           See Col. 5 at 42-54 (“Preferably, the display means is an
                           elongate flexible web such as a paper or plastics tape on
                           which the dose amount is printed, say as a descending
                           sequence of numbers from e.g. 200. The advantage of a tape
                           display is that different print styles or representations can be
                           easily incorporated to emphasise [sic] significant events to
                           the inhaler user, such as approaching exhaustion of the
                           medicament reservoir. The tape is dispensed from a supply
                           spool which is arranged in parallel with a take-up spool. The
                           take-up spool may share the same spindle as that on which
                           the ratchet wheel is mounted. The tape extends between the
                           two spools and passes behind a window in the inhaler
                                                                                C-16
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   apparatus through which one of the printed figures is visible
   to the user.”).

   See Col. 5 at 63-67 (“display means coupled to the rotary
   motion of said rotary gear means, said display means having
   a visible array of incrementing integers on a surface thereof
   indexable by a single integer in response to each step of the
   step-wise rotary motion of the rotary gear means”).

   See Col. 6 at 29-42 (“Preferably, the display means is an
   elongate flexible web of paper or plastics material on which
   the dose count is printed, for example as a descending
   sequence of numbers from e.g. 200. The advantage of a tape
   display is that different print styles or representations can be
   easily incorporated to emphasise [sic] significant events to
   the inhaler user, such as approaching exhaustion of the
   medicament reservoir. The tape is dispensed from a supply
   stool which is arranged in parallel with a take-up spool. The
   take-up spool may share the same spindle as that on which
   the ratchet wheel is mounted. The tape extends between the
   two spools and passes behind a window in the inhaler
   apparatus through which one of the printed figures is visible
   to the user.”).

   See Col. 6 at 51-55 (“display means coupled to the rotary
   motion of said rotary gear means, said display means having
   a visible array of incrementing integers on a surface thereof
   indexable by a single integer in response to each step of the
   step-wise rotary motion of the rotary gear means”).

   See Col. 10 at 47-51 (“Although the invention has been
   particularly described above with reference to specific
   embodiments, it will be understood by persons skilled in the
   art that these are merely illustrative and that variations are
   possible without departing from the scope of the claims
   which follow.”).

   See also 09/319,947 File History – Office Action dated May
   22, 2001 (“Rand discloses an MDI having dose counter
                                                        C-17
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   including an actuator, drive means 11, a preventing means
   15, display means 116 (page 2 lines 127-130) incrementing
   in single integers, and a control surface (cavities and walls
   housing element 11 as shown in fig. 2).

   …

   Marelli discloses an MDI having a dose counter including in
   fig. 5 the drive and preventing means for the display means
   17. Any surface touching or guiding element 9 would be the
   control surface.

   ….

   Klein discloses an MDI having a dose counter including a
   drive means 52, preventing means 46, display means 12 and
   control surface (port in wall 60 through which 40
   extends).”).




                                                       C-18
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         EXHIBIT D
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                                                             EXHIBIT D
                               Final Joint Claim Chart for U.S. Patent No. 8,132,712 (“the ‘712 patent”)
                            Teva Pharmaceutical Products R&D, Inc. et al. v. Perrigo Pharmaceuticals Co. et al.
                                               (C.A. No. 12-1101-GMS) (Consolidated)

                                                                  Agreed-Upon Constructions
       Term                                                              Joint Proposed Construction
[applicable claims]

  “a control surface to   Proposed Construction:
 regulate a position of   Plain and ordinary meaning/Ordinary and customary meaning.
    engagement and
disengagement between     Intrinsic Evidence Identified By Plaintiffs:
 said drive means and     See Figure 3 at 58.
      said wheel”
           [5]            See Col. 4 at 3-18 (“A control surface 58 is depicted here as a see-through element so that the workings of the dose counter may
                          be more clearly seen. The control surface 58 extends parallel to the direction of travel of the actuator 20 and is located adjacent
                          .the ratchet-toothed wheel 30 at a position which marks a chordal projection across one of the wheel faces. One of the support
                          arms 56 of the driver 28 is in sliding contact with control surface 58. This sliding contact serves to inhibit the natural tendency
                          of the driver 28 to flex radially inwardly towards the axis of rotation of the ratchet-toothed wheel 30. By preventing such
                          radially inward flexure, the control surface 58 restricts the engagement and disengagement of the drive 28 with the ratchet-
                          toothed wheel 30 so that the distance by which the ratchet-toothed wheel 30 rotates is limited to one tooth pitch. This condition
                          is observed regardless of the extent of linear travel, or stroke, of the actuator 20.”).

                          See Col. 5 at 55-63 (“As in the dose counter 18 of WO 98/28033, the dose counter 18 of the present invention preferably further
                          comprises a control surface to regulate the position of engagement and disengagement between the driver 28 and the wheel 30.
                          In addition, the driver 28 comprises a ratchet drive pawl and preferably the ratchet drive pawl is in the form of a straddle drive in
                          which the element that engages the ratchet teeth of the wheel is supported between a pair of spaced apart support arms.”).

                          Intrinsic Evidence Identified By Defendants:
                          ‘712 patent
                               (See, e.g., col. 3, ll. 49-50; col. 4, ll. 3-21; col. 5, ll. 31-34, 55-58; Fig. 3, claim 5.)

                          ’712 Patent Prosecution History: Application No. 12/532,762,
                              (See, e.g., June 10, 2011 Office Action [PER(Albu) 033488].)

                                                                                   D-1
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                      ‘627 patent
                          (See, e.g., Face of ‘627 patent, item (86) (“PCT Pub. No.: WO98/28033”); Abstract; col. 4, ll. 37-39; col. 5, ll. 14-26; col. 7,
                          ll. 11-13; col. 8, ln. 55 – col. 9, ln.3; col. 9, ll. 29-42; Figs. 3 and 5.)




                                                              Disputed Constructions

       Term         Plaintiffs’ Constructions and Intrinsic Evidence Defendants’ Constructions and Intrinsic Evidence
[applicable claims]

     “actuator”       Proposed Construction:                                             Proposed Construction:
     [1, 18, 19]      Plain and ordinary meaning.                                        Same construction as “actuator means” in the ‘627 patent, i.e.,
                                                                                         “a mechanical device for moving or controlling the driver.”
                      Intrinsic Evidence:
                      See Figure 1 at 20.                                                Intrinsic Evidence:
                                                                                         ‘712 patent
                      See Figure 2 at 20.                                                   (See, e.g., Abstract, Figs. 1-3, 5, 9; col. 1, ll. 16-20, 34-38,
                                                                                            43-46; col. 2, ll. 44-60; col. 3, ll. 3-8, 35-36, 49-62; col. 4, ll.
                      See Figure 3 at 22, 26.                                               17-18, 38-49; col. 5, ll. 13-27, 31-39; col. 6, ll. 19-40, 54-59,
                                                                                            63-66; col. 7, ll. 2-6, 31-35; col. 8, ll. 35-42; col. 9, ll. 8-11;
                      See Figure 5 at 2.                                                    claims 1, 6, 7, 12, 16, 17, 18, 19.)

                      See Col. 1 at 16-30 (“This invention relates to a metered-         ’712 Patent Prosecution History: App. No. 12/532,762,
                      dose inhaler and in particular to a dose counter for a                (See, e.g., Jun. 10, 2011 Office Action [PER(Albu) 033486-
                      metered-dose inhaler, the counter comprising: an actuator; a          89].)
                      rotary gear; a driver for driving the rotary gear in a step-wise
                      fashion in response to displacement of the actuator, the           ‘627 patent
                      rotary gear comprising a wheel mounted on a spindle which             (See, e.g., Face of ‘627 patent, item (86) (“PCT Pub. No.:
                      wheel having a plurality of ratchet teeth around its periphery;       WO98/28033”); Abstract, col. 1, ll. 12-14, 24-27, 28-30, 35-
                      a pawl to prevent reverse rotation of the rotary gear; and a          38, 49-50; col. 2, ll. 23-27; col. 3, ll. 38-59; col. 4, ll. 26-36;
                      display coupled to the rotary gear, the display having a              col. 6, ll. 10-20; col. 7, ll. 5-8, 25-28, 33-34, 50-56; col. 8, ll.
                      visible array of incrementing integers on a surface thereof           33-40; col. 9, ll. 4-5, 66-67; Claims 1, 5, 7, 10, 12, 14, 18,
                      indexable by a single integer in response to each step of the         20, 24, 26, 29, 32.
                      step-wise rotary motion of the rotary gear; wherein the pawl
                      comprises at least two ratchet teeth which are radially spaced
                      such that one of the teeth engages with the ratchet teeth of

                                                                           D-2
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   the wheel following each step of the step-wise rotary motion
   of the rotary gear.”).

   See Col. 1 at 34-38 (“Metered-dose inhalers include
   pressurised [sic] metered-dose inhalers (of both manually
   operable and breath-actuated types) and dry-powder inhalers.
   Such metered-dose inhalers typically comprise a
   medicament-containing vessel and an actuator body having a
   drug delivery outlet.”).

   See Col. 1 at 43-46 (“The metering valve assembly is
   provided with a protruding valve stem which, in use, is
   inserted as a tight push fit into a so-called ‘stem block’ in the
   actuator body.”).

   See Col. 2 at 45-49 (“FIGS.1 and 2 reproduced herein from
   WO 98/28033 show the lower portion of a metered-dose
   inhaler. The inhaler comprises an actuator body 2 having a
   drug delivery outlet 4. An aerosol canister 6 extends into the
   lower portion of the actuator 2.”).

   See Col. 2 at 52-59 (“The lid 10 carries a metering-valve
   assembly having a protruding valve stem 12, the end of
   which is received as a tight push fit in a stem block 14 of the
   actuator body 2. Stem block 14 has a nozzle 16
   communicating with the drug delivery outlet 4 so that, upon
   actuation of the metering-valve assembly, a charge of the
   drug is emitted through the nozzle 16 into the drug delivery
   outlet 4. Actuation of the metering valve assembly is
   effected by causing downward movement of the aerosol
   canister 6 relative to the actuator body 2.”).

   See Col. 3 at 3-5 (“A counter mechanism 18 includes an
   actuator 20 moulded [sic] from a plastics material, such as
   nylon, the actuator 20 having a boss 22 integrally formed at
   its base.”).

   See Col. 3 at 9-13 (“A driver 28 for driving a rotary gear in
   the form of a ratchet-toothed wheel 30 is integrally moulded
                                                         D-3
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   [sic] with boss 22 of the actuator 20 and comprises a
   transverse hook element (not shown) mounted between two
   arms (only one visible in FIG. 2), the bases of which are
   conjoined to the boss 22.”).

   See Col. 3 at 49-56 (“FIG. 3 shows a preferred embodiment
   of the invention set out in WO 98/28033. The dose counter
   18 comprises an actuator 20 having a boss 22 integrally
   formed therewith and driver 28 joined to the boss 22. The
   underside of boss 22 is provided with a blind hole which
   receives a compression spring 24 that serves to return the
   actuator 20 to its rest position after depression thereof during
   actuation of the inhaler apparatus (not shown).”).

   See Col. 3 at 57-62 (“The driver 28 comprises a transverse
   hook 52 mounted between a pair of arms 54,56 which are
   joined at their bases by a web (not shown). The web is
   connected to the boss 22 of the actuator 20. A combined
   actuator and driver assembly may be integrally formed, such
   as from a plastics material, e.g. as nylon.”).

   See Col. 4 at 46-49 (“Accordingly, a first aspect of the
   present invention provides a dose counter for a metered-dose
   inhaler, the counter comprising: an actuator”).

   See Col. 4 at 51-52 (“a driver for driving the rotary gear in a
   step-wise fashion in response to displacement of the
   actuator”).

   See Col. 5 at 31-36 (“The dose counter of the present
   invention is based on that set out in FIGS. 3 and 4 described
   hereinabove except that the pawl 60 has been modified.
   Modification of the pawl followed an in-depth study of all of
   the components of the inhaler. Thus, as shown in FIG. 5, the
   dose counter 18 of the present invention comprises an
   actuator 20”).

   See Col. 6 at 20-35 (“The user depresses the aerosol canister
   6 which causes displacement of the actuator 20. In this
                                                        D-4
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   embodiment, the actuator 20 is adapted to engage with the
   rim of the medicament canister 6. The actuator 20 is
   operable by linear displacement from a first position to a
   second position and back to the first position and movement
   of the rotary gear occurs either during the displacement of
   the actuator from the first position to the second position or
   during the displacement of the actuator from the second
   position to the first position. In the embodiment shown in
   FIG. 5, the movement of the rotary gear occurs during the
   displacement of the actuator from the first position to the
   second position. In the embodiment shown, the actuator 20
   comprises a spring-loaded plunger 22, 24, the plunger being
   depressible against the return force of the spring loading
   when the actuator is caused to deliver a dose of
   medicament.”).

   See Col. 6 at 36-40 (“During the movement from the first
   position to the second position, the actuator 20 causes the
   driver 28 to engage the trailing edge 62 of the ratchet tooth
   32 of the wheel 30. As the actuator 20 and driver 28 move
   down the ratchet-toothed wheel 30 rotates.”).

   See Col. 6 at 55-59 (“The compression spring 24 pushes the
   actuator 20 to follow the canister. The driver 28 on the
   actuator 20 flexes to pass over the teeth of the ratchet-
   toothed wheel 30 as the actuator 20 moves from the first to
   the second position.”).

   See Col. 6 at 63-66 (“The counter mechanism of the type
   described with reference to WO 98/28033 and in accordance
   with the present 65 invention must rotate the wheel 30 of the
   rotary gear by exactly one tooth spacing each time the
   actuator is depressed.”).

   See Col. 7 at 2-4 (“The stroke available for indexing the
   rotary gear is equal to the full stroke of the actuator 2.”).

   See Col. 8 at 35-48 (“The present invention further provides
   a metered dose inhaler 72 as shown in FIG. 9. The inhaler
                                                          D-5
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                             comprises a medicament canister 6, an actuator body 74 for
                             receiving the canister 6 and having a medicament delivery
                             outlet, and the dose counter as described herein. The inhaler
                             has a window 76 for viewing the integers on the tape 44. In a
                             preferred embodiment the actuator body 74 comprises a
                             sump and preferably a smooth rounded sump. Typically, a
                             rounded sump is understood to have a substantially
                             cylindrical upper portion and a substantially hemi-spherical
                             lower portion. Typically, smooth is understood to mean that
                             the surface is sufficiently free of surface protrusions to the
                             extent that during normal use medicament will not
                             substantially adhere thereto.”).

                             See Col. 9 at 8-18 (“In a preferred embodiment the counter
                             comprises an actuator 20; a rotary gear; a driver 28 for
                             driving the rotary gear in a step-wise fashion in response to
                             displacement of the actuator 20, the rotary gear comprising a
                             wheel 30 mounted on a spindle 36 which wheel 30 having a
                             plurality of ratchet teeth 32 around its periphery; and a
                             display 44 coupled to the rotary gear, the display having a
                             visible array of incrementing integers on a surface thereof
                             indexable by a single integer in response to each step of the
                             step-wise rotary motion of the rotary gear. Preferably, the
                             pawl 60 prevents reverse rotation of the rotary gear.”).

                             See Col. 9 at 18-25 (“Although the invention herein has been
                             described with reference to particular embodiments, it is to
                             be understood that these embodiments are merely illustrative
                             of the principles and applications of the present invention. It
                             is therefore to be understood that numerous modifications
                             may be made to the illustrative embodiments and that other
                             arrangements may be devised without departing from the
                             spirit and scope of the present invention as defined by the
                             appended claims.”).
    “a rotary gear ...       Proposed Construction:                                            Proposed Construction:
  comprising a wheel         Plain and ordinary meaning.                                       Same construction as “rotary gear means having a wheel
 mounted on a spindle                                                                          mounted on a spindle, said wheel having a plurality of ratchet
 which wheel having a        Intrinsic Evidence:                                               teeth around a periphery of said wheel” in the ‘627 patent, i.e.,”
plurality of ratchet teeth   See Figure 2 at 32.                                               a wheel mounted on a spindle, the wheel having a plurality of
                                                                                  D-6
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around its periphery”                                                                      ratchet teeth around its periphery.”
     [1, 18, 19]        See Figure 3 at 30, 34.
                                                                                           Intrinsic Evidence:
                        See Figure 4 at 30, 32, 62, 63.                                    ‘712 patent
                                                                                              (See, e.g., Abstract; Figs. 1-6, 8; col. 1, ll. 16-30; col. 3, ll. 9-
                        See Figure 5 at 30, 32.                                               26, 37-50, 63-67; col. 4, ll. 1-2, 6-17, 19-29, 37-67; col. 5, ll.
                                                                                              1-7, 13-25, 31-54, 67; col. 6, ll. 1-5, 19, 36-46, 53-67; col. 7,
                        See Figure 6 at 30, 70.                                               ll. 1-2, 57-67; col. 8, ll. 1-2, 26-29; col. 9, ll. 8-18; claims 1,
                                                                                              5, 8, 9, 13, 14, 15, 18, 19.)
                        See Figure 8 at 30, 32a.
                                                                                           ’712 Patent Prosecution History: App. No. 12/532,762,
                        See Col. 1 at 16-30 (“This invention relates to a metered-            (See, e.g., Jun. 10, 2011 Office Action [PER(Albu) 033486-
                        dose inhaler and in particular to a dose counter for a                89].)
                        metered-dose inhaler, the counter comprising: an actuator; a
                        rotary gear; a driver for driving the rotary gear in a step-wise   ‘627 Patent
                        fashion in response to displacement of the actuator, the              (See, e.g., Face of ‘627 patent, item (86) (“PCT Pub. No.:
                        rotary gear comprising a wheel mounted on a spindle which             WO98/28033”); Abstract; col. 4, ll. 9-13, 36-37, col. 5, ll.
                        wheel having a plurality of ratchet teeth around its periphery;       27-32, 35-40, 50-52, 58-62; col. 6, ll. 4-9, 23-29, 38-40, 46-
                        a pawl to prevent reverse rotation of the rotary gear; and a          50; col. 7, ll. 57-58, 63-67; col. 8, ll. 18-21, 48-51, 59-60, 65;
                        display coupled to the rotary gear, the display having a              col. 9, ll. 1-2, 8-24, 27-35, 39-41, 47-60; col. 10, ll. 1-4, 7-8,
                        visible array of incrementing integers on a surface thereof           10, 18, 22-24, 30-31, 40; claims 1, 3, 5, 8, 10, 12, 18, 23, 24,
                        indexable by a single integer in response to each step of the         25, 29, 30, 33; Figs. 2-7.)
                        step-wise rotary motion of the rotary gear; wherein the pawl
                        comprises at least two ratchet teeth which are radially spaced
                        such that one of the teeth engages with the ratchet teeth of
                        the wheel following each step of the step-wise rotary motion
                        of the rotary gear.”).

                        See Col. 3 at 9-17 (“A driver 28 for driving a rotary gear in
                        the form of a ratchet-toothed wheel 30 is integrally moulded
                        [sic] with boss 22 of the actuator 20 and comprises a
                        transverse hook element (not shown) mounted between two
                        arms (only one visible in FIG. 2), the bases of which are
                        conjoined to the boss 22. The transverse hook is
                        dimensioned and oriented to engage with ratchet teeth 32
                        formed around the periphery of the ratchet toothed wheel 30
                        to rotate it in a forward direction.”).

                        See Col. 3 at 18-21 (“The ratchet-toothed wheel 30 is
                                                                             D-7
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                                               1428


   integrally moulded [sic] with a first hollow axle 34 which is
   rotatably supported on a first spindle 36 that projects
   transversely from a chassis sub-element 38.”).

   See Col. 4 at 46-51 ("Accordingly, a first aspect of the
   present invention provides a dose counter for a metered-dose
   inhaler, the counter comprising: an actuator; a rotary gear; a
   driver for driving the rotary gear in a step-wise fashion in
   response to displacement of the actuator, the rotary gear
   comprising a wheel mounted on a spindle which wheel
   having a plurality of ratchet teeth around its periphery; a
   pawl to prevent reverse rotation of the rotary gear; and a
   display coupled to the rotary gear, the display having a
   visible array of incrementing integers on a surface thereof
   indexable by a single integer in response to each step of the
   step-wise rotary motion of the rotary gear; wherein the pawl
   comprises at least two ratchet teeth which are radially spaced
   such that one of the teeth engages with the ratchet teeth of
   the wheel following each step of the step-wise rotary motion
   of the rotary gear.”).

   See Col. 4 at 64 – Col. 5 at 1 (“The counter of the present
   invention thus provides a pawl having at least two teeth in
   which one and the same tooth engages with successive
   ratchet teeth of the wheel during the step-wise rotary motion
   of the wheel to prevent reverse rotation of the wheel (and
   hence the rotary gear).”).

   See Col. 5 at 35-46 (“Thus, as shown in FIG. 5, the dose
   counter 18 of the present invention comprises an actuator 20;
   a rotary gear (not shown in full in FIG. 5); a driver 28 for
   driving the rotary gear in a step-wise fashion in response to
   displacement of the actuator 20, the rotary gear comprising a
   wheel 30 mounted on a spindle (not shown), the wheel 30
   having a plurality of ratchet teeth 32 around its periphery; a
   pawl 60 to prevent reverse rotation of the rotary gear; and a
   display (not shown) coupled to the rotary gear, the display
   having a visible array of incrementing integers on a surface
   thereof indexable by a single integer in response to each step
                                                       D-8
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   of the step-wise rotary motion of the rotary gear.”).

   See Col. 6 at 23-31 (“The actuator 20 is operable by linear
   displacement from a first position to a second position and
   back to the first position and movement of the rotary gear
   occurs either during the displacement of the actuator from
   the first position to the second position or during the
   displacement of the actuator from the second position to the
   first position. In the embodiment shown in FIG. 5, the
   movement of the rotary gear occurs during the displacement
   of the actuator from the first position to the second
   position.”).

   See Col. 6 at 41-44 (“The spindle of the rotary gear moves
   the counter tape 44 revealing the next integer. The counter
   tape 44 is held taut by the action of the split hub 70 on which
   is mounted the stock bobbin 68.”).

   See Col. 6 at 60-62 (“The tooth of the at least two teeth 64,
   66 which has engaged tooth 32 of the wheel30 prevents the
   rotary gear from rotating backwards.”).

   See Col. 6 at 63-66 (“The counter mechanism of the type
   described with reference to WO 98/28033 and in accordance
   with the present invention must rotate the wheel 30 of the
   rotary gear by exactly one tooth spacing each time the
   actuator is depressed.”).

   See Col. 7 at 2-4 (“The stroke available for indexing the
   rotary gear is equal to the full stroke of the actuator 2.”).

   See Col. 7 at 40-45 (“Thus, since the start gap is 0.85±0.47
   mm the maximum start gap (mean plus 3 standard
   deviations) is 1.32 mm (0.85±0.47). When such a start gap
   occurs, a short-stroking canister (for example, 2.79 mm) will
   not rotate the wheel 30 of the rotary gear by a full tooth
   spacing. This will lead to failure of the dose counter.”).

   See Col. 7 at 52-56 (“The step-wise rotation of the wheel 30
                                                           D-9
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   then continues with all subsequent actuations starting and
   finishing with the ratchet teeth 32 of the wheel 30 of the
   rotary gear engaged with the second tooth 66 of the pawl
   60.”).

   See Col. 7 at 57 – Col. 8 at 2 (“FIG. 8 shows a more detailed
   view of the wheel 30 of the rotary gear, the driver 28 and the
   pawl 60 to prevent reverse rotation of the rotary gear. In
   FIG. 8(a) the ratchet tooth 32a of the wheel 30 is engaged
   with the first ratchet tooth 64 of the pawl. In FIG. 8(b) the
   same tooth 32a of the wheel 30 is engaged with the second
   ratchet tooth 66 of the pawl 60. It may be seen that the start
   gap is reduced in the arrangement shown in FIG. 8(b) in
   comparison with the same distance in FIG. 8(a). The second
   tooth 66 of the pawl 60 therefore allows the first distance S
   of the start gap (the between the part of the driver 28 which
   engages the wheel 30 and the appropriate ratchet tooth 32 of
   the wheel 30) to be reduced thereby accommodating a
   greater tolerance in the canister stroke.”).

   See Col. 8 at 3-7 (“As explained hereinabove, the first and
   second teeth 64, 66 provide different starting positions for
   the wheel 30 of the rotary gear to accommodate different
   tolerance levels in the components of the inhaler.”).

   See Col. 9 at 8-18 (“In a preferred embodiment the counter
   comprises an actuator 20; a rotary gear; a driver 28 for
   driving the rotary gear in a step-wise fashion in response to
   displacement of the actuator 20, the rotary gear comprising a
   wheel 30 mounted on a spindle 36 which wheel 30 having a
   plurality of ratchet teeth 32 around its periphery; and a
   display 44 coupled to the rotary gear, the display having a
   visible array of incrementing integers on a surface thereof
   indexable by a single integer in response to each step of the
   step-wise rotary motion of the rotary gear. Preferably, the
   pawl 60 prevents reverse rotation of the rotary gear.”).

   See Col. 9 at 18-25 (“Although the invention herein has been
   described with reference to particular embodiments, it is to
                                                       D-10
                     Case 1:12-cv-01101-GMS                   Document 97-1 Filed 11/08/13                       Page 51 of 67 PageID #:
                                                                         1431


                            be understood that these embodiments are merely illustrative
                            of the principles and applications of the present invention. It
                            is therefore to be understood that numerous modifications
                            may be made to the illustrative embodiments and that other
                            arrangements may be devised without departing from the
                            spirit and scope of the present invention as defined by the
                            appended claims.”).
  “a driver for driving     Proposed Construction:                                             Proposed Construction:
said rotary gear in step-   Plain and ordinary meaning.                                        Same construction as “drive means for driving said rotary gear
wise fashion in response                                                                       means in step-wise fashion in response to displacement of said
 to displacement of the     Intrinsic Evidence:                                                actuator means” in the ‘627 patent i.e.:
        actuator”           See Figure 2 at 28.
       [1, 18, 19]                                                                             1) “a transverse hook element … mounted between two arms
                            See Figure 3 at 52, 54.                                            52, 53 … the bases of which are conjoined to the boss portion
                                                                                               42 ... [t]he transverse hook element [being] dimensioned and
                            See Figure 4 at 28.                                                oriented to engage with ratchet teeth 61 formed around the
                                                                                               periphery of ratchet wheel 60 to rotate it in a forward direction”;
                            See Figure 5 at 28.
                                                                                               2) “a transverse hook element 351 mounted between a pair of
                            See Figure 8 at 28.                                                arms 352, 353 which are joined at their bases by a web … [t]he
                                                                                               web [being] connected to the boss portion 342 of the actuator
                            See Col. 1 at 16-30 (“This invention relates to a metered-         341”;
                            dose inhaler and in particular to a dose counter for a
                            metered-dose inhaler, the counter comprising: an actuator; a       3) “the ratchet tooth-engaging element is supported at both ends
                            rotary gear; a driver for driving the rotary gear in a step-wise   by a support arm 752, 753”;
                            fashion in response to displacement of the actuator, the
                            rotary gear comprising a wheel mounted on a spindle which          4) “drive pawl 451”;
                            wheel having a plurality of ratchet teeth around its periphery;
                            a pawl to prevent reverse rotation of the rotary gear; and a       5) “drive pawl hook element 551”;
                            display coupled to the rotary gear, the display having a
                            visible array of incrementing integers on a surface thereof        6) “drive pawl 550”;
                            indexable by a single integer in response to each step of the
                            step-wise rotary motion of the rotary gear; wherein the pawl       7) “drive pawl 650”; and/or
                            comprises at least two ratchet teeth which are radially spaced
                            such that one of the teeth engages with the ratchet teeth of       8) “drive pawl 751”.
                            the wheel following each step of the step-wise rotary motion
                            of the rotary gear.”).                                             Intrinsic Evidence:
                                                                                               ‘712 patent
                            See Col. 3 at 9-17 (“A driver 28 for driving a rotary gear in         (See, e.g., Abstract; Figs. 2-5, 8; col. 1, ll. 16-20; col. 3, ll. 9-
                                                                                D-11
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   the form of a ratchet-toothed wheel 30 is integrally moulded          16, 49-52, 57-66; col. 4, ll. 8-17, 19-24, 38-54; col. 5, ll. 13-
   [sic] with boss 22 of the actuator 20 and comprises a                 25, 31-38, 55-63; col. 6, ll. 36-40, 53-59, 64-65; col. 7, ll. 57-
   transverse hook element (not shown) mounted between two               67; col. 9, ll. 8-18; claims 1, 5, 8, 9, 18, 19.)
   arms (only one visible in FIG. 2), the bases of which are
   conjoined to the boss 22. The transverse hook is                   ’712 Patent Prosecution History: App. No. 12/532,762,
   dimensioned and oriented to engage with ratchet teeth 32              (See, e.g., Jun. 10, 2011 Office Action [PER(Albu) 033486-
   formed around the periphery of the ratchet toothed wheel 30           89].).
   to rotate it in a forward direction.”).
                                                                      ‘627 patent
   See Col. 3 at 49-56 (“FIG. 3 shows a preferred embodiment             (See, e.g., Face of ‘627 patent, item (86) (“PCT Pub. No.:
   of the invention set out in WO 98/28033. The dose counter             WO98/28033”); Abstract, Figs. 2-7, col. 4, ll. 60-65; col. 5,
   18 comprises an actuator 20 having a boss 22 integrally               ll. 33-41; col. 6, ll. 21-29, 56-67; col. 7, ll. 1-2, 14-24, 57-65;
   formed therewith and driver 28 joined to the boss 22. The             col. 8, ll. 41-48, 61-67; col. 9, ll. 1-3, 6-10, 16-19, 23-48, ,
   underside of boss 22 is provided with a blind hole which              54-55, 62-67; col. 10, ll. 1-46; claims 1, 3, 5, 8, 10, 12, 18,
   receives a compression spring 24 that serves to return the            23, 24, 29, 33.)
   actuator 20 to its rest position after depression thereof during
   actuation of the inhaler apparatus (not shown).”).

   See Col. 3 at 57-62 (“The driver 28 comprises a transverse
   hook 52 mounted between a pair of arms 54, 56 which are
   joined at their bases by a web (not shown). The web is
   connected to the boss 22 of the actuator 20. A combined
   actuator and driver assembly may be integrally formed, such
   as from a plastics material, e.g. as nylon.”).

   See Col. 4 at 10-18 (“This sliding contact serves to inhibit
   the natural tendency of the driver 28 to flex radially inwardly
   towards the axis of rotation of the ratchet-toothed wheel 30.
   By preventing such radially inward flexure, the control
   surface 58 restricts the engagement and disengagement of
   the drive 28 with the ratchet-toothed wheel 30 so that the
   distance by which the ratchet-toothed wheel 30 rotates is
   limited to one tooth pitch. This condition is observed
   regardless of the extent of linear travel, or stroke, of the
   actuator 20.”).

   See Col. 4 at 19-29 (“FIG. 4 shows a schematic view of a
   conventional ratchet gear and drive pawl arrangement which
   is used in the dose counter described in WO 98/28033. The
                                                        D-12
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                                                1433


   arrangement uses a reciprocating driver 28 acting in a
   pushing sense to rotate a ratchet-toothed wheel 30 in the
   direction shown by the arrows A. A fixed pawl 60 acts to
   prevent reverse rotation of the ratchet-toothed wheel 30 by
   engagement against the trailing edge 62 of a ratchet tooth 32.
   However, on forward rotation of the ratchet-toothed wheel
   30 in the sense of arrows A, the fixed pawl 60 is capable of
   radially outward deformation, urged by the leading edge 63
   of a ratchet-tooth 32.”).

   See Col. 4 at 30-36 (“In this arrangement, if the ratchet-
   toothed wheel 30 is rotated by more than a single tooth pitch
   but by less than two tooth pitches for each reciprocating
   movement of the driver 28, there is a degree of reverse
   rotation until the pawl 60 becomes engaged by the trailing
   edge 62 (as opposed to the leading edge 63) of a ratchet
   tooth 32. Thus, the rotation of the ratchet-toothed wheel 30
   may be said to be ‘stepped’.).

   See Col. 4. at 46-54 (“Accordingly, a first aspect of the
   present invention provides a dose counter for a metered-dose
   inhaler, the counter comprising: an actuator; a rotary gear; a
   driver for driving the rotary gear in a step-wise fashion in
   response to displacement of the actuator, the rotary gear
   comprising a wheel mounted on a spindle which wheel
   having a plurality of ratchet teeth around its periphery”).

   See Col. 5 at 31-36 (“The dose counter of the present
   invention is based on that set out in FIGS. 3 and 4 described
   hereinabove except that the pawl 60 has been modified.
   Modification of the pawl followed an in-depth study of all of
   the components of the inhaler. Thus, as shown in FIG. 5, the
   dose counter 18 of the present invention comprises an
   actuator 20; a rotary gear (not shown in full in FIG. 5); a
   driver 28 for driving the rotary gear in a step-wise fashion in
   response to displacement of the actuator 20, the rotary gear
   comprising a wheel 30 mounted on a spindle (not shown),
   the wheel 30 having a plurality of ratchet teeth 32 around its
   periphery; a pawl 60 to prevent reverse rotation of the rotary
                                                       D-13
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   gear; and a display (not shown) coupled to the rotary gear,
   the display having a visible array of incrementing integers on
   a surface thereof indexable by a single integer in response to
   each step of the step-wise rotary motion of the rotary gear.”).

   See Col. 5 at 55-63 (“As in the dose counter 18 of WO
   98/28033, the dose counter 18 of the present invention
   preferably further comprises a control surface to regulate the
   position of engagement and disengagement between the
   driver 28 and the wheel 30. In addition, the driver 28
   comprises a ratchet drive pawl and preferably the ratchet
   drive pawl is in the form of a straddle drive in which the
   element that engages the ratchet teeth of the wheel is
   supported between a pair of spaced apart support arms.”).

   See Col. 6 at 36-40 (“During the movement from the first
   position to the second position, the actuator 20 causes the
   driver 28 to engage the trailing edge 62 of the ratchet tooth
   32 of the wheel 30. As the actuator 20 and driver 28 move
   down the ratchet-toothed wheel 30 rotates.”).

   See Col. 6 at 53-59 (“The driver 28 releases the ratchet-
   toothed wheel 30 after it has engaged with the pawl 60. On
   reset of the inhaler, the canister 6 is allowed to return to its
   initial (first) position. The compression spring 24 pushes the
   actuator 20 to follow the canister. The driver 28 on the
   actuator 20 flexes to pass over the teeth of the ratchet-
   toothed wheel 30 as the actuator 20 moves from the first to
   the second position.”).

   See Col. 7 at 31-39 (“The start gap is the tolerance stack in
   the vertical direction and includes a first distance between
   the part of the driver 28 which engages the wheel 30 and the
   appropriate ratchet tooth 32 of the wheel 30 of the rotary
   gear, and a second distance between the top of the actuator
   20 and the canister 6. The tolerance in the vertical direction
   was found to be ±0.47 mm. The nominal start gap for the
   EasiBreathe® inhaler is set at 0.85 mm and hence the start
   gap with tolerances is 0.85±0.47 mm.”).
                                                        D-14
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   See Col. 7 at 57 – Col. 8 at 2 (“FIG. 8 shows a more detailed
   view of the wheel 30 of the rotary gear, the driver 28 and the
   pawl 60 to prevent reverse rotation of the rotary gear. In
   FIG. 8(a) the ratchet tooth 32a of the wheel 30 is engaged
   with the first ratchet tooth 64 of the pawl. In FIG. 8(b) the
   same tooth 32a of the wheel 30 is engaged with the second
   ratchet tooth 66 of the pawl 60. It may be seen that the start
   gap is reduced in the arrangement shown in FIG. 8(b) in
   comparison with the same distance in FIG. 8(a). The second
   tooth 66 of the pawl 60 therefore allows the first distance S
   of the start gap (the between the part of the driver 28 which
   engages the wheel 30 and the appropriate ratchet tooth 32 of
   the wheel 30) to be reduced thereby accommodating a
   greater tolerance in the canister stroke.”).

   See Col. 9 at 8-18 (“In a preferred embodiment the counter
   comprises an actuator 20; a rotary gear; a driver 28 for
   driving the rotary gear in a step-wise fashion in response to
   displacement of the actuator 20, the rotary gear comprising a
   wheel 30 mounted on a spindle 36 which wheel 30 having a
   plurality of ratchet teeth 32 around its periphery; and a
   display 44 coupled to the rotary gear, the display having a
   visible array of incrementing integers on a surface thereof
   indexable by a single integer in response to each step of the
   step-wise rotary motion of the rotary gear. Preferably, the
   pawl 60 prevents reverse rotation of the rotary gear.”).

   See Col. 9 at 18-25 (“Although the invention herein has been
   described with reference to particular embodiments, it is to
   be understood that these embodiments are merely illustrative
   of the principles and applications of the present invention. It
   is therefore to be understood that numerous modifications
   may be made to the illustrative embodiments and that other
   arrangements may be devised without departing from the
   spirit and scope of the present invention as defined by the
   appended claims.”).

   See also 12/532,762 File History – Office Action dated June
                                                       D-15
                     Case 1:12-cv-01101-GMS                   Document 97-1 Filed 11/08/13                       Page 56 of 67 PageID #:
                                                                         1436


                            10, 2011 (“Bowman et al: teaches a dose counter for a
                            metered dose inhaler. There is an actuator 20, a rotary gear
                            32 both shown in figure 2. There is a driver 28 (see figure 4)
                            that drives the gear in a step-wise fashion in response to
                            displacement of the actuator, the rotary gear being a wheel
                            mounted on a spindle and having. a plurality of ratchet teeth
                            around the periphery. There is a pawl 60 to prevent reverse
                            rotation; this is also shown in figure 4. There is a display
                            shown in figure 3, having a visible array of incrementing
                            integers, in response to each step of the step-wise rotary
                            motion of the rotary gear.”).
Defendants: “a pawl to      Proposed Construction:                                             Proposed Construction:
prevent reverse rotation    “One or more pawls [to prevent reverse rotation] …                 “a pawl” and “the pawl” should be given their ordinary and
      of the rotary         [wherein] one or more pawls [comprises at least two ratchet        customary meaning.
gear…wherein the pawl       teeth].”
 comprises at least two                                                                        A pawl having at least two ratchet teeth each for engaging with
  ratchet teeth each for    Intrinsic Evidence:                                                the ratchet teeth of the wheel to prevent reverse rotation of the
    engaging with the       See Figure 4 at 60.                                                rotary gear. The at least two ratchet teeth of the pawl are radially
   ratchet teeth of the                                                                        spaced less than the radial distance between adjacent teeth on
wheel to prevent reverse    See Figure 5 at 60, 64, 66.                                        the wheel of the rotary gear such that one and the same tooth of
  rotation of the rotary                                                                       the pawl engages with the ratchet teeth of the wheel of the
  gear, the at least two    See Figure 8 at 60, 64, 66.                                        rotary gear following each step of the step-wise rotary motion of
   ratchet teeth being                                                                         the rotary gear.
  radially spaced such      See Col. 1 at 16-30 (“This invention relates to a metered-
 that one of the at least   dose inhaler and in particular to a dose counter for a             Intrinsic Evidence:
two ratchet teeth of the    metered-dose inhaler, the counter comprising: an actuator; a       ‘712 patent
 pawl engages with the      rotary gear; a driver for driving the rotary gear in a step-wise      (See, e.g., Abstract; Fig. 8; col. 1, ll. 16-30; col. 4, ll. 19-36,
   ratchet teeth of the     fashion in response to displacement of the actuator, the              38-48, 55, 60-67; col. 5, ll. 1-7, 13-25, 31-34, 41-42, 64-67;
 wheel following each       rotary gear comprising a wheel mounted on a spindle which             col. 6, ll. 1-5, 45-54, 60-67; col. 7, ll. 1-2, 40-67; col. 8, ll. 1-
  step of the step-wise     wheel having a plurality of ratchet teeth around its periphery;       34; col. 9, ll. 1-7, 17-18; claims 1, 2, 3, 4, 15, 18, 19.)
  rotary motion of the      a pawl to prevent reverse rotation of the rotary gear; and a
       rotary gear”         display coupled to the rotary gear, the display having a           ’712 Patent Prosecution History: App. No. 12/532,762,
                            visible array of incrementing integers on a surface thereof         See, e.g., Jun. 10, 2011 Office Action [PER(Albu) 033486-
  Plaintiffs: “a pawl [to   indexable by a single integer in response to each step of the         89].
     prevent reverse        step-wise rotary motion of the rotary gear; wherein the pawl        See, e.g., Oct. 11, 2011 Reply to Office Action
  rotation] ... [wherein]   comprises at least two ratchet teeth which are radially spaced        [PER(Albu)_033491-94].
 the pawl [comprises at     such that one of the teeth engages with the ratchet teeth of        See, e.g., Nov. 7, 2011 Reasons for Allowance [PER(Albu)
least two ratchet teeth]”   the wheel following each step of the step-wise rotary motion          033507-08].
        [1, 18, 19]         of the rotary gear.”).
                                                                                D-16
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   See Col. 4 at 19-29 (“FIG. 4 shows a schematic view of a
   conventional ratchet gear and drive pawl arrangement which
   is used in the dose counter described in WO 98/28033. The
   arrangement uses a reciprocating driver 28 acting in a
   pushing sense to rotate a ratchet-toothed wheel 30 in the
   direction shown by the arrows A. A fixed pawl 60 acts to
   prevent reverse rotation of the ratchet-toothed wheel 30 by
   engagement against the trailing edge 62 of a ratchet tooth 32.
   However, on forward rotation of the ratchet-toothed wheel
   30 in the sense of arrows A, the fixed pawl 60 is capable of
   radially outward deformation, urged by the leading edge 63
   of a ratchet-tooth 32.”).

   See Col. 4 at 30-36 (“In this arrangement, if the ratchet-
   toothed wheel 30 is rotated by more than a single tooth pitch
   but by less than two tooth pitches for each reciprocating
   movement of the driver 28, there is a degree of reverse
   rotation until the pawl 60 becomes engaged by the trailing
   edge 62 (as opposed to the leading edge 63) of a ratchet
   tooth 32. Thus, the rotation of the ratchet-toothed wheel 30
   may be said to be ‘stepped’.”).

   See Col. 4 at 46-63 (“Accordingly, a first aspect of the
   present invention provides a dose counter for a metered-dose
   inhaler, the counter comprising: an actuator; a rotary gear; a
   driver for driving the rotary gear in a step-wise fashion in
   response to displacement of the actuator, the rotary gear
   comprising a wheel mounted on a spindle which wheel
   having a plurality of ratchet teeth around its periphery; a
   pawl to prevent reverse rotation of the rotary gear; and a
   display coupled to the rotary gear, the display having a
   visible array of incrementing integers on a surface thereof
   indexable by a single integer in response to each step of the
   step-wise rotary motion of the rotary gear; wherein the pawl
   comprises at least two ratchet teeth which are radially spaced
   such that one of the teeth engages with the ratchet teeth of
   the wheel following each step of the step-wise rotary motion
   of the rotary gear.”).
                                                      D-17
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   See Col. 4 at 64 – Col. 5 at 9 (“The counter of the present
   invention thus provides a pawl having at least two teeth in
   which one and the same tooth engages with successive
   ratchet teeth of the wheel during the step-wise rotary motion
   of the wheel to prevent reverse rotation of the wheel (and
   hence the rotary gear). By providing alternative positions for
   engaging the ratchet teeth of the wheel, the pawl increases
   the range of tolerances in the manufacture of the various
   components of the inhaler which can be accommodated. This
   in turn significantly reduces the failure rate of the dose
   counter and, in particular, the likelihood of undercounting.
   Clearly, undercounting is particularly undesirable as it can
   lead to a patient believing that there are more doses left
   within the inhaler than there actually are.”).

   See Col. 5 at 31-46 (“The dose counter of the present
   invention is based on that set out in FIGS. 3 and 4 described
   hereinabove except that the pawl 60 has been modified.
   Modification of the pawl followed an in-depth study of all of
   the components of the inhaler. Thus, as shown in FIG. 5, the
   dose counter 18 of the present invention comprises an
   actuator 20; a rotary gear (not shown in full in FIG. 5); a
   driver 28 for driving the rotary gear in a step-wise fashion in
   response to displacement of the actuator 20, the rotary gear
   comprising a wheel 30 mounted on a spindle (not shown),
   the wheel 30 having a plurality of ratchet teeth 32 around its
   periphery; a pawl 60 to prevent reverse rotation of the rotary
   gear; and a display (not shown) coupled to the rotary gear,
   the display having a visible array of incrementing integers on
   a surface thereof indexable by a single integer in response to
   each step of the step-wise rotary motion of the rotary gear.”).

   See Col. 5 at 64 – Col. 6 at 5 (“The pawl 60 comprises at
   least two ratchet teeth 64, 66. Preferably, as shown in FIG. 5,
   the pawl 60 comprises two ratchet teeth 64, 66 and no more.
   The at least two ratchet teeth 64, 66 are radially spaced with
   respect to the ratchet-toothed wheel 30 such that one and the
   same tooth engages with the ratchet teeth 32 of the wheel
                                                       D-18
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   following each step of the stepwise rotary motion of the
   rotary gear. Typically, one, and only one, of the ratchet teeth
   64, 66 on pawl 60 ever engages with the ratchet wheel.”).

   See Col. 6 at 45-52 (“The pawl 60 radially outwardly
   deforms to allow the wheel 30 to rotate by one tooth 32. The
   at least two teeth 64, 66 of pawl 60 may be inherently
   resilient to allow the required radially outward deformation
   and return. Alternatively or in addition, the pawl 60 may be
   mounted on a resilient support capable of radially outward
   deformation, for example the resilient support may be a
   resilient flange incorporated in to the chassis of the dose
   counter 18.”).

   See Col. 6 at 53-54 (“The driver 28 releases the ratchet-
   toothed wheel 30 after it has engaged with the pawl 60.”).

   See Col. 6 at 60-62 (“The tooth of the at least two teeth 64,
   66 which has engaged tooth 32 of the wheel 30 prevents the
   rotary gear from rotating backwards.”).

   See Col. 7 at 40-56 (“Thus, since the start gap is 0.85±0.47
   mm the maximum start gap (mean plus 3 standard
   deviations) is 1.32 mm (0.85±0.47). When such a start gap
   occurs, a short-stroking canister (for example, 2.79 mm) will
   not rotate the wheel 30 of the rotary gear by a full tooth
   spacing. This will lead to failure of the dose counter.
   However, the provision of a first and second ratchet tooth 64,
   66 in the pawl 60 allows the ratchet tooth 32 of the wheel 30
   of the rotary gear to rest on the second tooth 66. In the
   present embodiment, the second tooth 66 is 0.60 mm away
   from the first tooth 64. Thus, for the next actuation, the start
   gap is reduced to 0.72 mm (1.32-0.60). The stroke is
   therefore sufficient to rotate the wheel 30 a full index
   starting from this point. The step-wise rotation of the wheel
   30 then continues with all subsequent actuations starting and
   finishing with the ratchet teeth 32 of the wheel 30 of the
   rotary gear engaged with the second tooth 66 of the pawl
   60.”).
                                                       D-19
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                                               1440



   See Col. 7 at 57 – Col. 8 at 2 (“FIG. 8 shows a more detailed
   view of the wheel 30 of the rotary gear, the driver 28 and the
   pawl 60 to prevent reverse rotation of the rotary gear. In
   FIG. 8(a) the ratchet tooth 32a of the wheel 30 is engaged
   with the first ratchet tooth 64 of the pawl. In FIG. 8(b) the
   same tooth 32a of the wheel 30 is engaged with the second
   ratchet tooth 66 of the pawl 60. It may be seen that the start
   gap is reduced in the arrangement shown in FIG. 8(b) in
   comparison with the same distance in FIG. 8(a). The second
   tooth 66 of the pawl 60 therefore allows the first distance S
   of the start gap (the between the part of the driver 28 which
   engages the wheel 30 and the appropriate ratchet tooth 32 of
   the wheel 30) to be reduced thereby accommodating a
   greater tolerance in the canister stroke.”).

   See Col. 8 at 14-23 (“In the embodiments shown herein, the
   dose counter 18 of the present invention incorporates a pawl
   60 having two teeth 64, 66 and only two teeth, i.e. the pawl
   60 consists essentially of two teeth 64, 66. However,
   additional teeth could be incorporated to provide additional
   precision to the start position of the wheel 30 and thus
   additional precision in the first distance S. For example, the
   pawl may have 2-6, preferably two, three or four teeth, more
   preferably two or three and most preferably two teeth.”).

   See Col. 9 at 1-7 (“A further aspect of the present invention
   provides the use of a pawl 60 comprising at least two ratchet
   teeth 64, 66 for preventing miscounting in a dose counter of
   a metered dose inhaler 72. A still further aspect of the
   present invention provides the use of a pawl 60 comprising
   at least two ratchet teeth 64, 66 for preventing undercounting
   in a counter of a metered dose inhaler 72.”).

   See Col. 9 at 8-18 (“In a preferred embodiment the counter
   comprises an actuator 20; a rotary gear; a driver 28 for
   driving the rotary gear in a step-wise fashion in response to
   displacement of the actuator 20, the rotary gear comprising a
   wheel 30 mounted on a spindle 36 which wheel 30 having a
                                                      D-20
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   plurality of ratchet teeth 32 around its periphery; and a
   display 44 coupled to the rotary gear, the display having a
   visible array of incrementing integers on a surface thereof
   indexable by a single integer in response to each step of the
   step-wise rotary motion of the rotary gear. Preferably, the
   pawl 60 prevents reverse rotation of the rotary gear.”).

   See Col. 9 at 18-25 (“Although the invention herein has been
   described with reference to particular embodiments, it is to
   be understood that these embodiments are merely illustrative
   of the principles and applications of the present invention. It
   is therefore to be understood that numerous modifications
   may be made to the illustrative embodiments and that other
   arrangements may be devised without departing from the
   spirit and scope of the present invention as defined by the
   appended claims.”).

   See also 12/532,762 File History – Applicant
   Arguments/Remarks dated October 11, 2011 (“Claim 1,
   which has been amended, now recites ‘wherein- the pawl
   comprises, at least two ratchet teeth each for engaging with
   the ratchet teeth of the wheel to prevent reverse rotation of
   the rotary gear, the at least two ratchet teeth being radially
   spaced such that one of that least two ratchet teeth of the
   pawl engages with the ratchet teeth of the wheel following
   each step of the step-wise rotary motion of the rotary gear.’
   This feature is disclosed, for example, in Figure 5 and at
   Page 9, Lines 1-7 of the originally-filed specification. Claims
   18 and 19 have been amended to incorporate features of
   claim 1. No new matter has been added.

   …

   Independent claims 1, 18 and 19 each recites features which
   are neither disclosed nor suggested by Stradella, Bowman or
   Parker, considered either alone or in combination, namely:
   ‘wherein the pawl comprises at least two ratchet teeth each
   for engaging with the ratchet teeth of the wheel to prevent
   reverse rotation of the rotary gear, the at least two ratchet
                                                       D-21
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   teeth being radially spaced such that one of the at least two
   ratchet teeth of the pawl engages with the ratchet teeth of the
   wheel following each step of the step-wise rotary motion of
   the rotary gear.’ Emphasis Added.

   Independent claims 1, 18 and 19 have been amended to
   clarify that each of the at least two ratchet teeth of the pawl
   (i.e. every one considered individually) is configured for
   engaging with the ratchet teeth. The Parker reference is
   relied upon for its teaching of a ‘pawl with two teeth’ (see
   page 4 of the Office Action). The Office Action does not
   contend that either Stradella or Bowman teach a pawl having
   two teeth.

   For the purpose of comparison, Parker’s pawl 18 is shown
   below to the left and the Applicant’s pawl 60 is shown below
   to the right. In Applicant’s Figure 8a shown below, the pawl
   tooth 64 prevents reverse rotation of the gear, whereas in
   Applicant’s Figure 8b shown below, the other pawl tooth 66
   prevents reverse rotation of the gear. Thus, both of the
   Applicant’s pawl teeth prevent reverse rotation of the gear.
   In contrast, as shown, in the annotated figure 1 shown below
   to the left, Parker’s pawl tooth labeled [sic] ‘A’ cannot
   prevent reverse rotation of the ratchet wheel 16. Only
   Parker’s pawl tooth labelled [sic] ‘B’ prevents reverse
   rotation. Parker’s pawl tooth ‘A’ merely serves to limit the
   engagement of the pawl teeth with a single tooth of the
   ratchet wheel 16.

   …

   Additionally, in the unlikely event that the Examiner-
   considers Parker’s pawl tooth labelled [sic] ‘C’ as analogous
   to a claimed ratchet tooth of a pawl, then the Applicant
   submits that Parker’s pawl tooth ‘C’ permits reverse rotation
   of the ratchet wheel 16 and prevents forward rotation of the
   ratchet wheel 16 (see Parker at Column 2, Lines 61-65).
   Parker’s reverse-action tooth ‘C’ is provided for switching
   between clockwise and counter-clockwise ratcheting action.
                                                       D-22
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   There would be no reason to add Parker’s reverse-action
   tooth ‘C’ to Bowman’s pawl because Bowman’s rotary gear
   is only intended to rotate in a single direction.

   …

   Page 6 of the Office Action contends that other prior art
   references disclose plural toothed pawls. Like the Parker
   reference, each pawl tooth of those reference does not
   engage with the ratchet teeth of a wheel to prevent reverse
   rotation of the wheel.”).

   See also 12/532,762 File History – Notice of Allowability
   dated November 7, 2011 (“Each independent claim has now
   been amended to include the limitation, ‘wherein the pawl
   comprises at least two ratchet teeth each for engaging with
   the ratchet teeth of the wheel to prevent reverse rotation of
   the rotary gear, the at least two ratchet teeth being radially
   spaced such that one of the at least two ratchet teeth of the
   pawl engages with the ratchet teeth of the wheel following
   each step of the step-wise rotary motion of the rotary gear.’
   (Underlining by examiner for emphasis).

   The examiner agrees with the applicant that these limitations
   overcome the instant rejection which relies on the pawl of
   Parker (US 4,445,404). It is noted that these limitations
   capture several aspects of the pawl that are not seen in
   various prior art pawls shown by the examiner, specifically:
   (1) Each of the two ratchet teeth of the pawl can be engaged
   with the ratchet teeth of the wheel. In Parker, as the applicant
   convincingly shows especially at page 7 of the recent
   response, only one of the two teeth engages for preventing
   reverse rotation. (2) One of the two ratchet teeth of the pawl
   is be engaged with the ratchet teeth of the wheel in a given
   step. This limitation distinguishes over such art as Keeton
   (US 7,252,065), Nicoletti (US 6,175,994), Nakaya et al. (US
   5,485,971) and Chiang (US 2011/0220450) all of which
   teach at least two ratchet teeth on a pawl. In each case, the
   two ratchet teeth engage the wheel simultaneously, mainly
                                                       D-23
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                           for strength and redundancy. The contrast with the instant
                           invention is seen in the instant figures as well as column 9,
                           lines 6-7 of the instant specification: ‘Typically, one, and
                           only one, of the ratchet teeth 64, 66 on pawl 60 ever engages
                           with the ratchet wheel.’ (3) Both ratchet teeth are to prevent
                           reverse rotation. Both Parker and Chang (US 6,070,502)
                           teach pawls that have opposite teeth variously stopping
                           rotation in a first direction and a second direction
                           respectively. The instant claim limitations specifically
                           distinguish away from this arrangement.”).
“display coupled to the    Proposed Construction:                                             Proposed Construction:
rotary gear ... having a   Plain and ordinary meaning.                                        Same construction as “display means coupled to said rotary gear
    visible array of                                                                          means, said display means having a visible array of
 incrementing integers     Intrinsic Evidence:                                                incrementing integers on a surface thereof indexable by a single
  on a surface thereof     See Figure 3 at 30, 34, 44, 52, 54, 64.                            integer in response to each step of the step-wise motion of the
 indexable by a single                                                                        rotary gear means” in the ‘627 patent, i.e.:
 integer in response to    See Figure 6 at 18, 30.
 each step of the step-                                                                       1) “a flexible tape 68 wound around the second hollow axle 67
 wise rotary motion of     See Col. 1 at 16-30 (“This invention relates to a metered-         which serves as a supply spool and passes to the first hollow
    the rotary gear”       dose inhaler and in particular to a dose counter for a             axle 63 which serves as a take up spool … [t]he surface of the
       [1, 18, 19]         metered-dose inhaler, the counter comprising: an actuator; a       tape 68 is marked with a progression of descending numbers
                           rotary gear; a driver for driving the rotary gear in a step-wise   which denotes the number of doses remaining in the aerosol
                           fashion in response to displacement of the actuator, the           canister”; and/or
                           rotary gear comprising a wheel mounted on a spindle which
                           wheel having a plurality of ratchet teeth around its periphery;    2) “flexible tape display 368”.
                           a pawl to prevent reverse rotation of the rotary gear; and a
                           display coupled to the rotary gear, the display having a           Intrinsic Evidence:
                           visible array of incrementing integers on a surface thereof        ‘712 patent
                           indexable by a single integer in response to each step of the         (See, e.g., Abstract, Figs. 1-3, 5-6, 8, 9; col. 1, 16-30; col. 3,
                           step-wise rotary motion of the rotary gear; wherein the pawl          ll. 17-36, 49-50, 63-67; col. 4, ll. 1-2, 56-59; col. 5, ll. 13-27,
                           comprises at least two ratchet teeth which are radially spaced        31-33, 42-46; col. 6, ll. 6-18, 41-44, 63-65; col. 8, ll. 35-40;
                           such that one of the teeth engages with the ratchet teeth of          col. 9, ll. 8-17; claims 1, 10, 11, 18, 19.)
                           the wheel following each step of the step-wise rotary motion
                           of the rotary gear.”).                                             ’712 Patent Prosecution History: App. No. 12/532,762,
                                                                                                 (See, e.g., Jun. 10, 2011 Office Action [PER(Albu) 033486-
                           See Col. 3 at 63 – Col. 4 at 2 (“In use, the transverse hook 52       89].)
                           engages with ratchet teeth 32 of a ratchet-toothed wheel 30        ‘627 patent
                           which is mounted on a hollow axle 34 serving as a take-up             (See, e.g., Face of ‘627 patent, item (86) (“PCT Pub. No.:
                           spool for a flexible tape display 44. At the end of the hollow        WO98/28033”); Abstract, Figs. 1-3, col. 3, ll. 15-17, col. 4,
                                                                               D-24
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   axle 34 remote from the ratchet toothed wheel 30 is a friction    ln. 3; col. 5, ll. 42-54; col. 6, ll. 30-42; col. 7, ll. 5-10; col. 8,
   clutch 50 which serves to restrain the axle 34 against reverse    ll. 4-17, 47-50, claims 1, 4, 5, 9, 10, 12, 17, 18, 24, 28, 29.)
   rotation and hence prevents reverse travel of the counter tape
   44.”).

   See Col. 4 at 46-59 (“Accordingly, a first aspect of the
   present invention provides a dose counter for a metered-dose
   inhaler, the counter comprising: an actuator; a rotary gear; a
   driver for driving the rotary gear in a step-wise fashion in
   response to displacement of the actuator, the rotary gear
   comprising a wheel mounted on a spindle which wheel
   having a plurality of ratchet teeth around its periphery; a
   pawl to prevent reverse rotation of the rotary gear; and a
   display coupled to the rotary gear, the display having a
   visible array of incrementing integers on a surface thereof
   indexable by a single integer in response to each step of the
   step-wise rotary motion of the rotary gear”)

   See Col. 5 at 31-46 (“The dose counter of the present
   invention is based on that set out in FIGS. 3 and 4 described
   hereinabove except that the pawl 60 has been modified.
   Modification of the pawl followed an in-depth study of all of
   the components of the inhaler. Thus, as shown in FIG. 5, the
   dose counter 18 of the present invention comprises an
   actuator 20; a rotary gear (not shown in full in FIG. 5); a
   driver 28 for driving the rotary gear in a step-wise fashion in
   response to displacement of the actuator 20, the rotary gear
   comprising a wheel 30 mounted on a spindle (not shown),
   the wheel 30 having a plurality of ratchet teeth 32 around its
   periphery; a pawl 60 to prevent reverse rotation of the rotary
   gear; and a display (not shown) coupled to the rotary gear,
   the display having a visible array of incrementing integers on
   a surface thereof indexable by a single integer in response to
   each step of the step-wise rotary motion of the rotary gear.”).

   See Col. 6 at 6-18 (“FIG. 6 shows an exploded view of the
   dose counter 18 showing in addition to the previously
   described components, the stock bobbin 68 which is held
   taut by the action of the split hub 70. The split hub 70 avoids
                                                       D-25
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                the need for a clutch spring as set out in WO 98/28033.
                Although the clutch spring could be used as an alternative or
                in addition to the split hub 70, in a preferred embodiment,
                the dose counter of the present invention does not include a
                clutch spring. The display is preferably an elongate counter
                tape 44 on which the dose count is printed or written, and
                more preferably the counter tape 44 is located on an indexing
                spool and the dose counter further comprises a stock bobbin
                to receive the counter tape as the indexing spool is advanced
                in a step-wise fashion.”).

                See Col. 9 at 18-25 (“Although the invention herein has been
                described with reference to particular embodiments, it is to
                be understood that these embodiments are merely illustrative
                of the principles and applications of the present invention. It
                is therefore to be understood that numerous modifications
                may be made to the illustrative embodiments and that other
                arrangements may be devised without departing from the
                spirit and scope of the present invention as defined by the
                appended claims.”).

                See also 12/532,762 File History – Office Action dated June
                10, 2011 (“Bowman et al: teaches a dose counter for a
                metered dose inhaler. There is an actuator 20, a rotary gear
                32 both shown in figure 2. There is a driver 28 (see figure 4)
                that drives the gear in a step-wise fashion in response to
                displacement of the actuator, the rotary gear being a wheel.
                mounted on a spindle and having. a plurality of ratchet teeth
                around the periphery. There is a pawl 60 to prevent reverse
                rotation; this is also shown in figure 4. There is a display
                shown in figure 3, having a visible array of incrementing
                integers, in response to each step of the step-wise rotary
                motion of the rotary gear.”).
“the pawl”      Proposed Construction:                                            Proposed Construction:
   [2, 3]       “One or more pawls.”                                              Ordinary and customary meaning.

                Intrinsic Evidence:                                               Intrinsic Evidence:
                See intrinsic evidence in support of Plaintiffs’ proposed         ‘712 patent
                construction of the term “a pawl [to prevent reverse rotation]       (See, e.g., Abstract; Fig. 8; col. 1, ll. 16-30; col. 4, ll. 19-36,
                                                                    D-26
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   … [wherein] the pawl [comprises at least two ratchet teeth].”     38-48, 55, 60-67; col. 5, ll. 1-7, 13-25, 31-34, 41-42, 64-67;
                                                                     col. 6, ll. 1-5, 45-54, 60-67; col. 7, ll. 1-2, 40-67; col. 8, ll. 1-
                                                                     34; col. 9, ll. 1-7, 17-18; claims 1, 2, 3, 4, 15, 18, 19.)

                                                                   ’712 Patent Prosecution History: App. No. 12/532,762,
                                                                    See, e.g., Jun. 10, 2011 Office Action [PER(Albu) 033486-
                                                                      89].
                                                                    See, e.g., Oct. 11, 2011 Reply to Office Action
                                                                      [PER(Albu)_033491-94].
                                                                      See, e.g., Nov. 7, 2011 Reasons for Allowance [PER(Albu)
                                                                      033507-08].




                                                     D-27
